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            EXHIBIT A
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                                      California
                                      Presidential
                                      Primary
                                      Election
                                      Tuesday
                                      June 7, 2016
                                      Polls Are Open From 7:00 a.m. to 8:00 p.m.
                                      on Election Day!




★ ★ ★ ★ ★   OFFICIAL VOTER INFORMATION GUIDE ★ ★ ★ ★ ★


                                   Certificate of Correctness
                                   I, Alex Padilla, Secretary of State of the State of California, do hereby
                                   certify that the measure included herein will be submitted to the electors
                                   of the State of California at the Primary Election to be held throughout
                                   the State on June 7, 2016, and that this guide has been correctly
                                   prepared in accordance with the law. Witness my hand and the Great Seal
                                   of the State in Sacramento, California, this 14th day of March, 2016.




                                   Alex Padilla, Secretary of State
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              Secretary of State
    Dear Fellow Californian,

    There is no greater right than the right to vote. Through voting, you help select
    your local, state, and national leaders, and ensure that your voice is heard.
    The Presidential Primary Election is fast approaching. Participate in your most
    fundamental right as a citizen of the United States of America.

    The Voter Guide can help you make informed decisions on Election Day. It includes
    impartial analysis, arguments in favor and against ballot measures, declarations of the
    candidates, and other important information.

    All of this is presented here as a reference for you. This guide is also available online
    at the California Secretary of State website: www.voterguide.sos.ca.gov.

    Please take the time to read the information in this guide carefully to prepare for
    Election Day. If you would like to know who is financing each of the campaigns, you
    can search campaign finance information at: powersearch.sos.ca.gov.

    If you have any questions about how to vote, or how to register to vote, you can contact
    the office of the Secretary of State by calling toll free 1-800-345-VOTE (8683).
    To obtain the contact information of your local county elections officials, you can visit
    the Secretary of State website at: www.sos.ca.gov/county-elections-offices.

    Thank you for your commitment to the future of California. The Presidential Primary
    Election is June 7. Your vote is important. Remember, your vote is your voice. Be
    heard. VOTE!




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U.S. Presidential Candidates
Information on candidates running for President will be available on the Secretary of State’s Voter Information
Guide website. Visit www.voterguide.sos.ca.gov for more details.


Visit the Secretary of State’s Website to:
•    Research campaign contributions and lobbying activity
     cal-access.sos.ca.gov OR
     powersearch.sos.ca.gov
•    View this voter guide in other languages
     www.voterguide.sos.ca.gov
•    Find your polling place on Election Day
     www.sos.ca.gov/elections/polling-place
•    Get vote-by-mail ballot information
     www.sos.ca.gov/elections/voter-registration/vote-mail
•    Read helpful information for first-time voters
     www.sos.ca.gov/elections/voting-california
•    Watch live election results after polls close on Election Day
     http://vote.sos.ca.gov

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                                             VOTER BILL OF




    YOU HAVE THE FOLLOWING RIGHTS:
                                  RIGHTS
          The right to vote if you are a registered voter.        The right to get help casting your ballot
      1   You are eligible to vote if you are:               6    from anyone you choose, except from your
          • a U.S. citizen living in California                   employer or union representative.
          • at least 18 years old
          • registered where you currently live                   The right to drop off your completed
          • not in prison or on parole for a felony          7    vote-by-mail ballot at any polling place in the
                                                                  county where you are registered to vote.
          The right to vote if you are a registered voter
      2   even if your name is not on the list. You               The right to get election materials in a
          will vote using a provisional ballot. Your         8    language other than English if enough people
          vote will be counted if elections officials             in your voting precinct speak that language.
          determine that you are eligible to vote.
                                                                  The right to ask questions to elections
          The right to vote if you are still in line when    9    officials about election procedures and
      3   the polls close.                                        watch the election process. If the person
                                                                  you ask cannot answer your questions, they
          The right to cast a secret ballot without               must send you to the right person for an
      4   anyone bothering you or telling you how to              answer. If you are disruptive, they can stop
          vote.                                                   answering you.


          The right to get a new ballot if you have made          The right to report any illegal or fraudulent
      5   a mistake, if you have not already cast your       10   election activity to an elections official or
          ballot. You can:                                        the Secretary of State’s office.
              Ask an elections official at a polling place         On the web at www.sos.ca.gov
              for a new ballot; or                                ✆ By phone at (800) 345-VOTE (8683)
              Exchange your vote-by-mail ballot for a              By email at elections@sos.ca.gov
              new one at an elections office, or at
              your polling place; or
              Vote using a provisional ballot, if you
              do not have your original vote-by-mail
              ballot.


             IF YOU BELIEVE YOU HAVE BEEN DENIED ANY OF THESE RIGHTS, CALL THE SECRETARY OF STATE’S
                           CONFIDENTIAL TOLL-FREE VOTER HOTLINE AT (800) 345-VOTE (8683).




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                                     California
                                     Presidential
                                     Primary
                                     Election
                                     Tuesday
                                     June 7, 2016
                                     Polls Are Open From 7:00 a.m. to 8:00 p.m.
                                     on Election Day!




★ ★ ★ ★ ★   OFFICIAL VOTER INFORMATION GUIDE ★ ★ ★ ★ ★


                                              Special Notice
     Pull out this Reference                  • Polls are open from 7:00 a.m. to 8:00 p.m. on the day
     Guide and take it with                     indicated in the posted sample ballot.
     you to the polls!                        • Instructions on how to vote can be obtained from a
                                                poll worker or by reading your sample ballot booklet.
     This pull-out reference guide            • New voters may be asked to provide identification
     contains summary and contact               or other documentation according to federal law.
     information for each state                 You have the right to cast a provisional ballot, even if
     proposition appearing on the               you do not provide the documentation.
     June 7, 2016, ballot.                    • Only eligible voters can vote.
                                              • It is against the law to tamper with voting equipment.
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     QUICK-REFERENCE GUIDE
          PROP   SUSPENSION OF LEGISLATORS.                        All Voters Can Vote
         50      LEGISLATIVE CONSTITUTIONAL AMENDMENT.
                                                                   in a Primary Election
     SUMMARY
                                                                   Voting for President depends on the
     Authorizes Legislature to suspend Members, including          party you are registered with.
     without salary and benefits. Prohibits suspended
     Members from using powers of office or legislative            If you are registered with a political party:
     resources. Provides suspension may end on specified
                                                                   You can vote for a candidate running for President in
     date or by vote of Member’s house. Fiscal Impact: No
     effect on state spending in most years. Minor state           that party.
     savings in some years.                                        If you registered with no party preference, you can
     WHAT YOUR VOTE MEANS                                          vote in the Presidential primary for the following
                                                                   parties:

     YES                            NO
              A YES vote on this           A NO vote on this
              measure means:               measure means: The      •   Democratic
     The State Constitution         Senate or Assembly could
     would be amended to            still suspend a legislator     •   American Independent
     require a two-thirds vote of   with a majority vote. The
     the Senate or Assembly in      suspended legislator,          •   Libertarian
     order to suspend a state       however, would continue to
     legislator. The Senate or      receive a state salary and     You can select the party ballot at your polling place. If
     Assembly could eliminate       benefits.                      you vote-by-mail, you were sent a postcard to select a
     that legislator’s salary and
     benefits during the
                                                                   party ballot.
     suspension.
                                                                   If you registered with no party preference and want
     ARGUMENTS                                                     to vote in the Presidential primary for one of the
                                                                   following political parties:

     PRO                            CON
              Proposition 50                 Proposition 50 is
              would give the                 a scam brought to     •   Republican
     Legislature clear authority    you by those that would
     to discipline Senators or      turn a blind eye to a          •   Green
     Assembly Members by            culture of corruption in our
     suspending them without        State Capitol. It              •   Peace & Freedom
     pay. Lawmakers should be       perpetuates that culture by
     able to hold their own         allowing Legislators to        You must re-register to vote with that party by
     colleagues accountable if      remain in office after         May 23, 2016.
     they breach the public’s       having been indicted, even
     trust. This commonsense        convicted of a felony,
     measure was placed on the      allowing taxation without
                                                                   Register to vote online at
     ballot with strong             representation.                www.RegisterToVote.ca.gov.
     bipartisan support.

     FOR ADDITIONAL INFORMATION


     FOR                            AGAINST
     California Forward             www.Stopprop50.com
     1107 9th Street,
     Suite 650
     Sacramento, CA 95814
     YesProp50.com

6 | Quick-Reference Guide
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Ways to Vote
        Vote by Mail
        Request a vote-by-mail ballot by May 31.

        Return by mail—must be postmarked on or before June 7 and received by your county
        elections office no later than June 10.

        Return in person—to your county elections office or any polling place in your county before
        8:00 p.m. on June 7.



        Vote Early in Person
        Some counties offer early voting at a few locations before Election Day.

        Contact your county elections office to see if they offer early voting.

        County contact information can be found on page 29 or by visiting the Secretary of State’s
        website at: http://www.sos.ca.gov/elections/voting-resources/county-elections-offices.



        Vote at the Polls on Election Day
        Polls are open on Election Day: June 7 from 7:00 a.m. to 8:00 p.m.

        The location of your polling place is printed on the back page of the sample ballot booklet
        your county elections official mailed to you.

        You can also find your polling place:

        ✆     By calling (800) 345-VOTE (8683)

             Online at www.sos.ca.gov/elections/polling-place

              By texting Vote to GOVOTE (468683)




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        PROPOSITION   SUSPENSION OF LEGISLATORS.

      50              LEGISLATIVE CONSTITUTIONAL AMENDMENT.


         OFFICIAL TITLE AND SUMMARY                                                  PREPARED BY THE ATTORNEY GENERAL




       • Authorizes each house of Legislature to                    date, or upon two-thirds vote of Member’s
         suspend one of its Members by two-thirds                   house.
         vote, and to require Member to forfeit salary
         and benefits while suspended.                          SUMMARY OF LEGISLATIVE ANALYST’S ESTIMATE OF NET
                                                                STATE AND LOCAL GOVERNMENT FISCAL IMPACT:
       • Prohibits suspended Member from
         exercising rights, privileges, duties, or              • No effect on state spending in most years.
         powers of office, or using any legislative               Minor state savings in some years.
         resources.
       • Provides suspension may end on specified


                                FINAL VOTES CAST BY THE LEGISLATURE ON SCA 17 (PROPOSITION 50)
50                                        (RESOLUTION CHAPTER 127, STATUTES OF 2014)
                                               Senate:    Ayes 31       Noes 3

                                            Assembly:     Ayes 73       Noes 2


         ANALYSIS BY THE LEGISLATIVE ANALYST


       BACKGROUND                                               recall process. In addition, each house of the
                                                                Legislature traditionally has had the ability
       The California Legislature. Each year the
                                                                to discipline its own members. Except for
       Legislature votes to approve or reject proposed
                                                                expulsion (described below), a majority vote
       laws and passes a state budget. Voters elect
                                                                of the house is required to take disciplinary
       120 members to the two houses of the
                                                                actions. These disciplinary actions include the
       Legislature: 40 Senators and 80 Assembly
                                                                following:
       Members. An independent commission—not
       the Legislature—sets salaries and benefits                   • Expulsion. Expelling a legislator—ending
       for legislators. Currently, the state pays most                his or her term of office—is the most
       legislators a salary of about $100,000 each                    severe disciplinary action available to
       year. Legislators also receive health, dental,                 the Assembly or Senate. The last time
       and vision benefits. They do not receive state                 this happened was in 1905, when four
       retirement benefits.                                           Senators were found by the Senate to
                                                                      be taking bribes. After a legislator is
       Disciplining Legislators. When legislators are
                                                                      expelled, he or she is no longer a Senator
       accused of wrongdoing, there are several ways
                                                                      or Assembly Member. His or her state
       that they can be disciplined. For example, they
                                                                      salary and benefits stop. Under the State
       can be prosecuted and sentenced by a court
                                                                      Constitution, two-thirds of the Assembly
       if they violate criminal laws, or voters can
                                                                      or Senate must vote to expel one of its
       attempt to remove them from office through a

 8 | Title and Summary / Analysis
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                                                                         SUSPENSION OF LEGISLATORS. PROPOSITION
                                                             LEGISLATIVE CONSTITUTIONAL AMENDMENT.
                                                                                                     50
  ANALYSIS BY THE LEGISLATIVE ANALYST                                                                CONTINUED




       members. This is the only disciplinary         • Allows Suspending Legislators Without
       action specifically mentioned in the State       Pay and Benefits. Currently, a suspended
       Constitution.                                    legislator keeps receiving a state salary
   • Suspension. Each house of the Legislature          and benefits. This measure allows the
     can also suspend one of its members.               Assembly or Senate to stop a legislator’s
     For example, in 2014 three Senators                pay and benefits during all or part of a
     were accused of felonies and the Senate            suspension.
     subsequently voted to suspend them.              • Other Requirements for Suspending
     During the time they were suspended, the           Legislators. This measure also
     three Senators did not vote on bills or take       (1) prohibits a suspended legislator from
     other legislative actions. They remained in        voting on laws or taking other actions
     office, however, and kept receiving state          as a legislator during a suspension,
     salaries and benefits until they left the          (2) requires the house to describe the
     Senate. (Later in 2014, each of the three          reasons for a suspension, and (3) sets                      50
     either resigned or left the Legislature at         rules for when a suspension would end
     the scheduled end of their Senate terms.)          (either on a specific date set by the
     This was the first time in history that            Assembly or Senate or after two-thirds of
     California legislators had been suspended.         the Assembly or Senate votes to end the
   • Other Disciplinary Actions. In addition to         suspension).
     expulsion and suspension, each house
     of the Legislature can take other, less        FISCAL EFFECTS
     severe disciplinary actions. These include     Only in rare cases have California legislators
     censure (publicly criticizing a legislator).   been expelled or suspended. If such
                                                    disciplinary penalties against legislators
PROPOSAL                                            continue to be rare, this measure would have
Constitutional Provisions About Suspensions.        no effect on state or local finances in most
This measure amends the State Constitution to       years. In any future year when the Senate or
add new provisions regarding the suspension         Assembly suspended a legislator, this measure
of legislators. The provisions address the          could lower the Legislature’s compensation
following issues:                                   costs, resulting in minor state savings.
   • Higher Vote Requirement to Suspend              Visit http://www.sos.ca.gov/measure-contributions for a
     Legislators. Currently, the Assembly or        list of committees primarily formed to support or oppose
     Senate can suspend one of its members                                 this measure.
     with a majority vote. This measure                    Visit http://www.fppc.ca.gov/transparency/
     requires a two-thirds vote of the Assembly        top-contributors/june-2016-primary-election.html
     or Senate in order to suspend one of its            to access the committee’s top 10 contributors.
     members.




For the full text of Proposition 50, see page 26.                                    Title and Summary / Analysis | 9
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      PROPOSITION   SUSPENSION OF LEGISLATORS.

     50             LEGISLATIVE CONSTITUTIONAL AMENDMENT.




                                          ★ ARGUMENT IN FAVOR OF PROPOSITION 50 ★
                                                                                  strong bipartisan support—this constitutional amendment
      VOTE YES ON PROPOSITION 50—ALLOW THE
                                                                                  and placed it before voters for their approval.
      LEGISLATURE TO SUSPEND MEMBERS WITHOUT PAY
                                                                                  The constitutional amendment would require the Assembly
      Proposition 50 would amend the state Constitution to
                                                                                  or the Senate to pass a resolution declaring why the
      give the California Legislature clear authority to suspend
                                                                                  member is being suspended. And to guard against political
      members of the Senate or the Assembly without pay.
                                                                                  misuse, the resolution would require the higher threshold of
      The measure is a simple and straightforward way for                         a two-thirds vote for approval.
      lawmakers to hold their own colleagues accountable for
                                                                                  The National Conference of State Legislatures believes
      breaching the public’s trust.
                                                                                  the power to discipline and expel members is inherent to
      Currently, the California Constitution does not make                        a legislative body. That power has long been a staple of
      it clear that the Legislature can suspend its members                       American democracy. It is common practice in most states.
      without pay. This issue came to light in 2014 when three
                                                                                  The California Legislature has the power to expel members,
      state senators—all charged with criminal offenses—were
                                                                                  and it should have the authority to suspend them without
      suspended by a resolution of the Senate.
                                                                                  pay should the circumstances warrant.
      But those members continued to receive their
                                                                                  Californians want and deserve a government that is worthy
      salaries—more than $95,000 a year—because it was not
                                                                                  of their trust. Voters have passed many political reforms in
      clear that the Senate had the authority to suspend their pay,
50    as well.
                                                                                  the last decade to improve the governance in California, but
                                                                                  more needs to be done to restore the public trust.
      The incident frustrated lawmakers who wanted to hold their
                                                                                  Proposition 50 is a commonsense step that would give
      own members accountable, and angered the public, which
                                                                                  lawmakers the authority to police their own, which is the
      saw it as another example of how lawmakers are shielded
                                                                                  right next step to holding all lawmakers accountable for
      from the consequences of their own actions and play by a
                                                                                  serving the public interest.
      different set of rules than everyone else.
                                                                                  That’s why fair-minded Californians support Proposition 5O.
      “It’s an aggravating situation that allows full pay for
      no work,” opined the San Francisco Chronicle, urging                        HELEN HUTCHISON, President,
      lawmakers to fix the loophole.                                              League of Women Voters of California
                                                                                  JAMES P. MAYER, President/CEO,
      The Legislature took it upon themselves to do just that.                    California Forward
      Lawmakers wrote and passed—overwhelmingly and with


                                   ★ REBUTTAL TO ARGUMENT IN FAVOR OF PROPOSITION 50 ★
      Why did the legislature vote to add Prop. 50 to the ballot?                 If you believe that Assembly members and Senators should
      Because Prop. 50 gives legislative leadership options NOT                   not be above the law, please vote NO and send the clear
      TO EXPEL fellow Assembly members and Senators who                           message: No more special privileges for Assembly members
      have been indicted or convicted of felony charges.                          and Senators indicted or convicted of felonies.

      Prop. 50 isn’t necessary because the Constitution already                   Californians deserve honest representatives serving
      allows Assembly members and Senators who have been                          them—NOT indicted or convicted legislators who have been
      indicted or convicted of felony charges to be removed from                  suspended from their duties yet remain in office, which
      office by expelling them.                                                   Prop. 50 allows.

      Instead, Prop. 50 allows those in the legislature who have                  Vote No on Prop. 50—Stop the corruption!
      been indicted or convicted to be suspended WITH or                          JON FLEISCHMAN, President,
      without pay and it robs constituents of their representation.               California Term Limits
      For many Californians, politicians are already allowed to                   RUTH WEISS, San Diego County Coordinator,
      serve in office for too long. Allowing them to continue in                  California Election Integrity Project
      office after criminal behavior under Prop. 50 is wrong!




 10 | Arguments                          Arguments printed on this page are the opinions of the authors, and have not been checked for accuracy by any official agency.
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                                                                                                                    SUSPENSION OF LEGISLATORS. PROPOSITION
                                                                                                        LEGISLATIVE CONSTITUTIONAL AMENDMENT.
                                                                                                                                                50
                                                   ★ ARGUMENT AGAINST PROPOSITION 50 ★
Proposition 50 is a scam brought to you by those that would                             TAXATION WITHOUT REPRESENTATION
turn a blind eye to a culture of corruption in our State                                Prop. 50 also denies millions of Californians their basic
Capitol! Voters should oppose this measure because:                                     rights. It imposes taxation without representation. When a
It perpetuates a culture of corruption in the State Capitol                             legislator is “suspended” instead of expelled, that means
It creates taxation without representation                                              that the citizens in that district has no one representing
                                                                                        their interests in the State Legislature. It means no election
Capitol insiders can use it to stifle political opposition
                                                                                        can take place to replace that bad actor, because he or she
PERPETUATES A CULTURE OF CORRUPTION IN THE                                              still “occupies” the office.
STATE CAPITOL
                                                                                        CAPITOL INSIDERS CAN USE PROP. 50 TO STIFLE
In 2014 when this measure was put on the ballot, nearly                                 POLITICAL OPPOSITION
one of every ten California State Senators were either
                                                                                        Perhaps the most disturbing part of this measure is that
convicted or under indictment on multiple felony criminal
                                                                                        it places into the state constitution a permanent means
counts including perjury, bribery and even gun-running.
                                                                                        by which the majority can stifle minority opinion in the
While this was going on, the author of Proposition 50,
                                                                                        legislature. It is not hard to see where if you are a vocal
then the President Pro-Tem of the State Senate, refused
                                                                                        member of the Senate or Assembly, on an issue that is not
to consider expelling these scoundrels from their offices
                                                                                        popular with your colleagues that you could have to face the
of public trust—even after one of them was convicted by a
                                                                                        reality that they could vote to suspend—to take away your
jury!
                                                                                        voice and your vote in the legislature!                               50
Headlines in the news included:
                                                                                        VOTE NO ON PROP. 50!
“Attempt to Expel Convicted State Senator
                                                                                        Visit: Stopprop50.com
Derailed”—Capital Public Radio, 2/27/14
“Wright Sentencing Delayed; Senators Refuse to Expel                                    JOEL ANDERSON, Senator,
                                                                                        38th District
Convicted Democrat”—Breitbart News Network, 7/8/14
                                                                                        BRIAN JONES, Assembly Member,
Prop. 50 is designed to make you feel like the Sacramento                               71st District
political class actually wants to take a tough position to root
out corruption. What they are really doing is hiding from
you the fact that they would not make the tough decision to
expel a convicted felon—their buddy.


                                        ★ REBUTTAL TO ARGUMENT AGAINST PROPOSITION 50 ★
This measure would give lawmakers the authority needed to                               The proposition sets a high bar to prevent lawmakers from
discipline fellow Assembly Members and Senators—taking                                  unjustly punishing each other. It requires the house to
into consideration the nature of the allegation and other                               publicly declare the reason for its action, and the resolution
circumstances.                                                                          must be approved by a two-thirds vote—never easy and
In severe cases, the Assembly and Senate already have the                               almost always requiring bipartisan support.
authority to expel a member. But expulsion is not always                                The measure does not inoculate the Legislature or
the just response. Even when a lawmaker is accused of                                   lawmakers from corrupting influences, and more needs
a crime, given the presumption of innocence, it may not                                 to be done to encourage ethical behavior, increase
be appropriate to expel that person until all the facts are                             transparency, investigate complaints and enforce the law.
known and the case resolved.                                                            Prop. 50 gives lawmakers one more way to respond
In many such instances, lawmakers need the authority                                    to ethical breaches by making it clear that when the
to respond in a reasonable and measured way—to do                                       circumstances warrant, lawmakers can be suspended
something short of expelling the member from the                                        without pay.
Legislature and something more than allowing that member
                                                                                        JAMES P. MAYER, President/CEO,
to sit home and collect a taxpayer-funded paycheck.                                     California Forward
Prop. 50 gives the Assembly or Senate the ability to                                    HELEN HUTCHISON, President,
suspend a member—and suspend the member’s pay.                                          League of Women Voters of California


Arguments printed on this page are the opinions of the authors, and have not been checked for accuracy by any official agency.                 Arguments |   11
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     Elections in California
     There are two different types of primary elections in California. The results of the primary election determine
     the candidates who will run in the general election in November. The types of primary elections are:



     Presidential (Party-Nominated/Partisan Offices)
     •   Office on the ballot: U.S. President

     •   Who can vote: Only voters who registered with the same political party as the candidate (some parties allow
         voters who registered with no party preference to vote in their primary. Visit http://www.sos.ca.gov/elections/
         political-parties/no-party-preference for more information).

     •   Result: The candidate who moves on to the general election is the candidate nominated by their national
         political party and may not be the candidate that was elected by popular vote in the California primary
         election.


     California Open Primary (Voter-Nominated Offices)
     •   Offices on the ballot: U.S. Senate, U.S. House of Representatives, statewide offices, and state legislative
         offices

     •   Who can vote: Any voter may vote for any one candidate in each contest, regardless of party preference.

     •   Result: The top-two candidates, regardless of party preference, who receive the most votes in each primary
         contest move on to the general election. After a top-two primary, a general election must be held even
         if one candidate receives a majority of the vote (at least 50 percent +1) and even if there is only one
         candidate in the primary election.

     •   California’s open primary system does not apply to candidates running for U.S. President, county central
         committee, or local offices.

     California law requires the following information to be printed in this guide.



     Party-Nominated/Partisan Offices
     Political parties may formally nominate candidates for party-nominated/partisan offices at the primary election.
     A nominated candidate will represent that party as its official candidate for the specific office at the general
     election and the ballot will reflect an official designation. The top vote-getter for each party at the primary
     election moves on to the general election. Parties also elect officers of county central committees at the
     primary election.

     A voter can only vote in the primary election of the political party he or she has disclosed a preference for
     upon registering to vote. However, a political party may allow a person who has declined to disclose a party
     preference to vote in that party’s primary election.




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Voter-Nominated Offices
Political parties are not entitled to formally nominate candidates for voter-nominated offices at the primary
election. A candidate nominated for a voter-nominated office at the primary election is the nominee of the
people and not the official nominee of any party at the general election. A candidate for nomination to a voter-
nominated office shall have his or her party preference, or lack of party preference, stated on the ballot, but
the party preference designation is selected solely by the candidate and is shown for the information of the
voters only. It does not mean the candidate is nominated or endorsed by the party designated, or that there is
an affiliation between the party and candidate, and no candidate nominated by the voters shall be deemed to
be the officially nominated candidate of any political party. In the county sample ballot booklet, parties may
list the candidates for voter-nominated offices who have received the party’s official endorsement.

Any voter may vote for any candidate for a voter-nominated office, if they meet the other qualifications required
to vote for that office. The top two vote-getters at the primary election move on to the general election for the
voter-nominated office even if both candidates have specified the same party preference designation. No party
is entitled to have a candidate with its party preference designation move on to the general election, unless the
candidate is one of the two highest vote-getters at the primary election.


Nonpartisan Offices
Political parties are not entitled to nominate candidates for nonpartisan offices at the primary election, and a
candidate at the primary election is not the official nominee of any party for the specific office at the general
election. A candidate for nomination to a nonpartisan office may not designate his or her party preference, or
lack of party preference, on the ballot. The top two vote-getters at the primary election move on to the general
election for the nonpartisan office.




Top Contributors to Statewide
Candidates and Ballot Measures
When a committee (a person or group of people who receive or spend money for the purpose
of influencing voters to support or oppose candidates or ballot measures) supports or opposes
a ballot measure or candidate and raises at least $1 million, the committee must report its top
10 contributors to the California Fair Political Practices Commission (FPPC). The committee
must update the top 10 list when there is any change.

These lists are available on the FPPC website at http://www.fppc.ca.gov/transparency/top-contributors.html.




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      Information About Candidate Statements
      In This Guide
      This voter guide includes information about U.S. Senate candidates which begins on page 15 of this guide.

      United States Senate candidates can buy space for their candidate statement in this voter guide. Some
      candidates, however, choose not to buy space for a statement.

      The candidates for U.S. Senate are:

      Phil Wyman                      Republican               President Cristina Grappo   Democratic
      Jarrell Williamson              Republican               Don J. Grundmann            No Party Preference
      Pamela Elizondo                 Green                    Herbert G. Peters           Democratic
      Akinyemi Olabode Agbede         Democratic               Tom Palzer                  Republican
      Jerry J. Laws                   Republican               John Thompson Parker        Peace and Freedom
      Gail K. Lightfoot               Libertarian              Greg Conlon                 Republican
      George C. Yang                  Republican               Karen Roseberry             Republican
      Loretta L. Sanchez              Democratic               Emory Peretz Rodgers        Democratic
      Duf Sundheim                    Republican               Von Hougo                   Republican
      Ling Ling Shi                   No Party Preference      Mark Matthew Herd           Libertarian
      Steve Stokes                    Democratic               Jason Hanania               No Party Preference
      Ron Unz                         Republican               Kamala D. Harris            Democratic
      Paul Merritt                    No Party Preference      Mike Beitiks                No Party Preference
      Gar Myers                       No Party Preference      Scott A. Vineberg           No Party Preference
      Massie Munroe                   Democratic               Jason Kraus                 No Party Preference
      Eleanor García                  No Party Preference      Don Krampe                  Republican
      Tim Gildersleeve                No Party Preference      Thomas G. Del Beccaro       Republican
      Clive Grey                      No Party Preference


      In Your Sample Ballot Booklet
      (Mailed Separately From Your County Registrar)
      In addition to the candidates in this guide, your ballot may include State Senate, State Assembly, and
      U.S. House of Representatives candidates.

      State Senate and State Assembly candidates may buy space for a candidate statement in the county sample
      ballot booklets IF they agree to keep their campaign spending under a certain dollar amount described below.


      •    State Senate candidates may spend no more than $846,000 in the primary election

      •    State Assembly candidates may spend no more than $564,000 in the primary election

       A list of candidates who accepted California’s voluntary campaign spending limits is available at
           www.sos.ca.gov/elections/candidate-statements

      California’s voluntary campaign spending limits do not apply to candidates for federal offices including
      President, U.S. Senate, and the U.S. House of Representatives.

      All U.S. House of Representatives candidates may buy space for a candidate statement in county sample ballot
      booklets. Some candidates, however, choose not to buy space for a statement.

       For the certified list of statewide candidates, go to www.sos.ca.gov/elections/candidate-statements


14 | List of Candidates for United States Senate
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CANDIDATE STATEMENTS
UNITED STATES SENATE

• Serves as one of two Senators who represent California’s                       • Votes on confirming federal judges, U.S. Supreme Court
  interests in the United States Congress.                                         Justices, and many high-level presidential appointments
                                                                                   to civilian and military positions.
• Proposes and votes on new national laws.




                                     Pamela Elizondo | GREEN
                                    http://www.facebook.com/Pamela.Elizondo.USSENATE




                                    P.O. Box 104                                 Tel: (707) 354-1498
                                    Laytonville, CA 95454                        Email: pamelizondo2004@yahoo.com
                                                                                 http://www.facebook.com/Pamela.Elizondo.USSENATE




                                     Akinyemi Olabode Agbede | DEMOCRATIC
                                    Rescue America! Rescue America!! Rescue America!!! Californian! Let us together rescue
                                    America from turning into a third world country. Enough is enough of American deep suffering.
                                    People in Washington has collapsed this country. Therefore, electing Dr. Akinyemi Agbede, as
                                    your next United States senator representing the golden state of California 2016 is the answer
                                    in order for our country to be reclaimed back.




                                    6775 Santa Monica Blvd.                      Tel: (559) 250-2563
                                    Suite 4-254                                  Email: yemibode@hotmail.com
                                    Los Angeles, CA 90038                        www.americamustregainitsgreatness2016.com




The order of the statements was determined by randomized alphabet drawing. Statements on this page were supplied by the candidates and have not been
checked for accuracy. Each statement was voluntarily submitted and paid for by the candidate. Candidates who did not submit statements could otherwise be
qualified to appear on the ballot.


                                                                                                                                    Candidate Statements    |   15
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     CANDIDATE STATEMENTS
     UNITED STATES SENATE


                                          Jerry J. Laws | REPUBLICAN
                                         ConstitutionaIist. Americanism. www.lawsussenate2016.com
       No Photograph
        Submitted




                                         14411 Northstar Ave.                         Tel: (760) 952-0294 (home) (760) 220-9814 (cell)
                                         Victorville, CA 92392                        Email: jerryjosephlaws2016@aol.com
                                                                                      www.lawsussenate2016.com




                                          Loretta L. Sanchez | DEMOCRATIC
                                         California needs an experienced and proven leader to tackle the full range of economic,
                                         educational and security challenges we face today. Our next U.S. Senator must have extensive
                                         legislative and national security experience and share the life experiences of working people. I
                                         do, and that’s why I am the best candidate for the job. I came from a union household of
                                         immigrant parents who struggled to provide for their seven children. I worked my way through
                                         college with the help of government and union grants, and the Anaheim Rotary Club paid for
                                         my MBA. I know the struggles of working families. My parents worked hard, valued education
                                         and are the only parents in American history to send two daughters to Congress. That’s why I
                                         have fought passionately in Congress for 20 years for education, tuition assistance, healthcare
                                         reform, immigration reform, gender equality, LGBT rights, worker’s rights, and environmental
                                         protection. I’ve also demonstrated independent judgment and courage when it mattered most:
                                         I voted against the Iraq War, the Patriot Act, and the bank bailouts, when few others did. As a
                                         senior member of the Armed Services and Homeland Security Committees, I’ve worked to
                                         ensure our troops are trained and equipped to win and cared for when they come home. I’m
                                         the only candidate with the national security experience necessary to keep America safe. As
                                         your Senator, I will fight for all Californians, so together we can have a stronger and more
                                         prosperous future. I humbly ask for your vote.

                                         P.O. Box 6037                                Tel: (714) 774-0236
                                         Santa Ana, CA 92706                          Email: info@loretta.org
                                                                                      http://loretta.org




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CANDIDATE STATEMENTS
UNITED STATES SENATE


                                     Duf Sundheim | REPUBLICAN
                                    Economic uncertainty and terrorist attacks have created anxious times. We want action from
                                    our leaders; instead we get excessive partisanship and a divisive, ineffective government. I
                                    promise to be different. I will be bold, balanced. I will find achievable solutions. California
                                    once was the “Land of Dreams”; aspiring to compete, to achieve—and to win for ourselves and
                                    our families. But that dream is being suffocated by leaders that have taken extreme positions.
                                    The result is businesses, our neighbors and our children are leaving California. Our schools are
                                    ranked 41st in the country. Taxes keep rising, and the cost-of-living is through the roof. This
                                    bleeding has to stop. I have the experience and passion to fix this. I graduated from Stanford
                                    and Northwestern Law. I solve problems for a living. I am a federal court approved mediator
                                    and volunteer settlement judge. I was Chairman of the California Republican Party, overseeing
                                    the only successful recall of a governor, and the first to be re-elected; because we got stuff
                                    done. Leaders from every segment imaginable are supporting my vision to renew the
                                    “California Dream.” Former Secretary of State George Shultz, Majority Leader Kevin McCarthy,
                                    Cisco’s John Chambers, Fresno Mayor Ashley Swearengin, The California Small Businesses
                                    Association. I am guided by the Constitution. My priorities are jobs, national security,
                                    education and water. Please visit SundheimforSenate.com for policy details. Integrity. Common
                                    sense. Results. They’re my foundation—and the foundation upon which we will bring back our
                                    “Land of Dreams.”

                                    27319 Julietta Lane                          Tel: (650) 209-0949
                                    Los Altos Hills, CA 94022                    Email: dufsundheim37@gmail.com
                                                                                 SundheimforSenate.com




                                     Ling Ling Shi | NO PARTY PREFERENCE
                                    Run for God’s Heart and America’s Freedom, challenge 10 giant chaos in economy and
  No Photograph                     economy-related sectors.
   Submitted




                                    P.O. Box 55                                  Tel: (909) 728-0578
                                    Rancho Cucamonga, CA 91729                   Email: lingling_lilyofvalley_shi@yahoo.com
                                                                                 www.wellsARK.com




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     CANDIDATE STATEMENTS
     UNITED STATES SENATE


                                          Paul Merritt | NO PARTY PREFERENCE
                                         California make history . . . elect an independent Senator Merritt. Elect an independent
                                         thinker. Elect the person, not the Party-in-power’s. Our National government is a shambles. We
                                         need a strong USA defense. Merritt is solid on international issues. I believe in Faith, respect
                                         people and all religions. Merritt supports Senator Feinstein’s boarder security fence, no
                                         offshore oil drilling, and our desert environmental protection Act. Merritt adheres that
                                         President Reagan’s idea on small government is best. Background: two law degrees, broker,
                                         hotel owner, elected city councilperson. Homeowner boards: Palm Springs, Santa Barbara, San
                                         Francisco, Orange County. Life member Nature Conservancy. Most Billionaire Republicans and
                                         Union boss Democrats don’t represent you! Merritt is Independent for all Citizens. Paul Merritt
                                         is a Californian!




                                         P.O. Box 9145                                Tel: (949) 249-2492
                                         Laguna, CA 92652                             Email: electmerrittsenator@yahoo.com
                                                                                      merrittforsenate.info




                                          Massie Munroe | DEMOCRATIC
                                         My candidacy represents the United States Constitution, the only contract between the people
                                         of America and America’s government “Of the people, By the people, For the people” to be
                                         restored and strengthened in America and extended to the UN as a contract between all people
                                         of our world through US leadership and diplomacy. International bankers, multinational
                                         corporate leaders, militaries and police must all 100% obey, comply with the Constitution of
                                         the US/UN in the Spirit of Truth, Serving All in Peace. Transforming from the Industrial
                                         Technology Age to the new “Energy Technology Era” will saturate US job markets for the next
                                         500 years. My campaign represents ending international bankers’ rule and their financial
                                         exploitation of nations; reestablishing people’s rule by creating a Citizen’s Bank to serve as
                                         America’s central bank; ending mind control slavery; ending non-consensual human
                                         experimentation; ending hunger, homelessness and violence; protecting earth, water, air,
                                         forests, oceans and animals; practicing Christ consciousness and implementing constitutional
                                         justice under the leadership of the US/UN. Through my national and international research
                                         and political activism, I identified “mind control slavery” by satellite energy technology
                                         weapons and social engineering programs that have been in continual development for the
                                         past 50 years and facilitated their “declassification”. As a result, I came under heavy
                                         sanctions that are ongoing. I request you, the voter, to rise above all untrue accusations that
                                         assail my good character and heart. See my evidence and review my service. Senator Bernie
                                         Sanders’ presidency is crucial for bringing this into reality.

                                         2167 East Chevy Chase Dr.                    Tel: (818) 943-0661 (cell) (818) 245-6993 (office)
                                         Glendale, CA 91206-1732                      Email: massie@massieglobal.com
                                                                                      www.massiemunroe4ussenator.com


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CANDIDATE STATEMENTS
UNITED STATES SENATE


                                     Tim Gildersleeve | NO PARTY PREFERENCE
                                    I am a follower of Jesus Christ. I stand for the poor, elderly, and disabled, environmental
                                    issues, unions, small business, and represent the average citizen. My website is:
                                    http://www.alternativevoiceforamerica.org.




                                                                                 Tel: (408) 915-8713
                                                                                 Email: timg@alternativevoiceforamerica.org
                                                                                 http://www.alternativevoiceforamerica.org




                                     President Cristina Grappo | DEMOCRATIC
                                    My education & expertise merits this prolific occupation in order to represent California, as
                                    United Senator. I hold a Democratic Party platform with key issues for gun control, human
                                    trafficking, balancing the national deficit, and foreign policy initiatives. I am mainstream
                                    Facebook in social media! My core values drive America!




                                    P.O. Box 1307
                                    Alameda, CA 94501




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     CANDIDATE STATEMENTS
     UNITED STATES SENATE


                                          Don J. Grundmann | NO PARTY PREFERENCE
                                         Fight-the-Power.org
       No Photograph
        Submitted




                                         425 E. Merle Ct.                             Tel: (510) 895-6789
                                         San Leandro, CA 94577                        Email: stoptheirs@hotmail.com
                                                                                      fight-the-power.org




                                          Herbert G. Peters | DEMOCRATIC
                                         Andrew Jackson Democrat. Our first 70 years; our county grew and flourished. We had no
       No Photograph                     income tax. Motto: Manifest Destiny. Democrat Presidents; were most wise: Andrew Jackson
        Submitted                        balanced budget seven of eight years. Franklin Pierce vetoed a federal welfare bill. To reverse
                                         downward spiral of last II8 years: balance our budget, resist war, reduce costs, reduce taxes,
                                         repeal welfare and minimum wage so all can find jobs. Churches and Charities help needful.
                                         Reduce oppression: replace income tax with sales tax. Goal: Better life for all.




                                                                                      Email: herb@herbpeters.com
                                                                                      http://www.revival-herbpeters.com




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CANDIDATE STATEMENTS
UNITED STATES SENATE


                                     Tom Palzer | REPUBLICAN
                                    I’m running for U.S. Senate to restore conservative government to California and the Nation. I
                                    have 32 years of experience advising elected officials at all levels of government. Priorities:
                                    National Defense, Anti-Terrorism, Economy, Veterans Affairs, Life-at-Conception.




                                    7259 Corvina Ct., Unit 26                    Tel: (909) 913-9500
                                    Rancho Cucamonga, CA 91739                   Email: info@us-senateseat2016.com
                                                                                 http://www.us-senateseat2016.com




                                     Greg Conlon | REPUBLICAN
                                     I was a partner in an international accounting firm, serving clients as a CPA, and have been a
                                     business consultant to various business entities. I have my attorney’s license in
                                     Washington D.C. and was a pilot in the US Air Force. I understand the economic,
                                     financial and legal challenges in balancing budgets and effectively serve the public and
                                     Veterans. In addition I am an Eagle Scout. As a Commissioner and President of the California
                                     Public Utilities Commission I was in charge of proceedings that allowed residential and
                                     commercial customers to buy electricity directly from private and community public entities
                                     not privately owned utilities. I also led an initiative that increased competition and allowed
                                     businesses to select different telecommunication providers. If elected I have three objectives:
                                     First, reduce the size of government and balance the Federal budget each year by reducing the
                                     administrative work force in Federal agencies and not replacing retired employees.
                                     Second, resolve immigration issues by strengthening our borders, enforcing the terms of visas
                                     issued to foreign citizens and reducing all Federal funding to so-called sanctuary cities.
                                     Third, provide private sector jobs by reducing the income tax rate on large businesses to
                                     5% for cash returned to the U.S. in exchange for new job creation. I was the Republican
                                     nominee for State Treasurer in 2014 and garnered almost 3.0 million votes; I know how to run
                                     a successful General Election. I look forward to representing California and would be honored
                                     to have your vote.

                                     3875 Bohannon Dr.                           Tel: (650) 315-4956
                                     P.O. Box 2600                               Email: conlonpg@msn.com
                                     Menlo Park, CA 94027                        www.gregconlon.com




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     CANDIDATE STATEMENTS
     UNITED STATES SENATE


                                          Karen Roseberry | REPUBLICAN
                                         *S.A.V.E. the future!*




                                         Palmdale, CA                                 Email: karenroseberryforsenate@gmail.com
                                                                                      www.karenroseberryforsenate.com




                                          Von Hougo | REPUBLICAN
                                         “We the People” are the foundation of this great Nation. As your U.S. Senator, I will work
                                         with California-based tech companies to develop a voter-driven platform that allows you to
                                         voice your opinion on every Bill before the Senate. Each Bill will be outlined with the pros,
                                         cons, benefits, risks, and cost analysis. You can cast your vote and the statewide results
                                         will be displayed in real time. I will vote in the Senate based on the majority vote of
                                         Californians—every single time. This will ensure that I am always accountable to and working
                                         in the best interest of the people of California. This secure voting portal will enable you to have
                                         your Voice heard and your Vote count on every Bill, not just once each election cycle. You can
                                         also specify your level of involvement, choosing the issues that are important to you. Whenever
                                         a Bill is coming before the Senate, you will be sent a text or email notification. Your vote will
                                         truly matter. This platform will make our government accountable to the people of California by
                                         challenging the status quo: Political Parties, PACs and Special Interests. I will put the power
                                         back in the hands of the People, where it belongs. I look forward to working with you for a
                                         better California. For more information or to endorse my donation-free campaign, please visit
                                         von4senate.org. Your Voice. Your Vote. Your Senator. Vote Von Hougo for U.S. Senate.

                                         27552 Mariam Pl.                             Tel: (661) 219-3268 (661) 296-3589
                                         Santa Clarita, CA 91350                      Email: vonhougo@gmail.com
                                                                                      von4senate.com




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CANDIDATE STATEMENTS
UNITED STATES SENATE


                                     Jason Hanania | NO PARTY PREFERENCE
                                    01100101.




                                    182 Howard St. #121                          Tel: (415) 654-6291
                                    San Francisco, CA 94105                      Email: 2016@jasonhanania.com
                                                                                 www.jasonhanania.com




                                     Kamala D. Harris | DEMOCRATIC
                                    My name is Kamala Harris. I am running for the United States Senate because I believe it is
                                    time to repair the ladder of opportunity for more Californians and more Americans. I am proud
                                    to be a daughter of California. I was born in Oakland. I went to California public schools. As a
                                    lifelong prosecutor, I have always served just one client: The People of California. As District
                                    Attorney of San Francisco and California Attorney General, I got things done for the People of
                                    California. I took on violent predators, including transnational criminal organizations and
                                    human traffickers who profit from exploiting women and children. I also took on the big
                                    polluters and the big banks and worked across the aisle to pass the nation’s toughest anti-
                                    foreclosure law to protect our homeowners. This is the approach I will bring as your United
                                    States Senator. I will fight for the jobs our people need by bringing home federal dollars that
                                    will repair our crumbling water and transportation systems. I’ll fight for better schools and to
                                    give every child access to pre-kindergarten and affordable childcare. I will fight for our veterans
                                    who deserve quality health care and job training when they come home. I’ll defend our
                                    environment and coast and lead the fight against climate change. And as a career prosecutor, I
                                    will work every day to keep our people safe from terrorism at home and abroad. Please join me.
                                    Thank you for your consideration.

                                    P.O. Box 78393                               Tel: (213) 221-1269
                                    San Francisco, CA 94107                      Email: info@kamalaharris.org
                                                                                 www.kamalaharris.org




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     CANDIDATE STATEMENTS
     UNITED STATES SENATE


                                          Mike Beitiks | NO PARTY PREFERENCE
                                         My platform is narrow. It’s more of a single board, really. Federal legislators are doing nothing
                                         to protect us from the threat of climate change. I will not do nothing. I swear on the graves of
                                         future Californians that I will not sacrifice our actual climate to our political climate.




                                                                                      www.Iwillnotdonothing.org




                                          Jason Kraus | NO PARTY PREFERENCE
                                         Each election Californians are saddled with the same problems, same issues, and same
                                         faces. Politicians beg for our money making promises that will never be kept. We must
                                         return to basics. Remove all forms of income tax which will increase employment, ignite
                                         our economy, and protect our way of life. I have refused all campaign contributions, will not
                                         accept a salary, and will only serve ONE term. I am not a Republican or a Democrat. I am an
                                         American . . . just like you. Jason Kraus. United States Senate 2017. For more information
                                         www.aleadernotapolitician.com.




                                                                                      Tel: (916) 542-8721
                                                                                      Email: Jason@ALeaderNotAPolitician.com
                                                                                      www.aleadernotapolitician.com




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CANDIDATE STATEMENTS
UNITED STATES SENATE


                                     Don Krampe | REPUBLICAN
                                    As a United States Marine, I served my country in combat during the Korean War. I later went
                                    on to serve our nation’s veterans as the Director of the USO in Vietnam and as an assistant to a
                                    Regional Director for the Veterans Administration. In 1958 I cofounded the Hugh O’Brian
                                    Young Adult Leadership Seminars which, since its inception, has benefited hundreds of
                                    thousands of young men and women. I have earned a Masters of Public Administration from
                                    Cal Lutheran University. I believe our two-party system is dysfunctional and does not
                                    understand the acronym “ ‘TEAM’—Together Everyone Achieves More”. Our country’s greatest
                                    resource is our young adults and students who must be taught “Not What to Think, But How to
                                    Think.” As The American Creed so eloquently states: “I believe in the United States of
                                    America as a government of the people, by the people, for the people; whose just powers are
                                    derived from the consent of the governed, a democracy in a republic a sovereign Nation of
                                    many Sovereign States; a perfect union, one and inseparable: established upon those
                                    principles of freedom, equality, justice, and humanity for which American patriots sacrificed
                                    their lives and fortunes. I therefore believe it is my duty to my country to love it, to support its
                                    Constitution, to obey its laws, to respect its flag, and to defend it against all enemies.” I would
                                    appreciate your consideration. To find out more visit my website: 2016krampeforsenate.com.

                                    40581 Via Amapola                            Tel: (951) 600-0542
                                    Murrieta, CA 92562                           Email: xptriumph@hotmail.com
                                                                                 www.2016krampeforsenate.com




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         TEXT OF PROPOSED LAW

      PROPOSITION 50                                                            (e) The Legislature shall enact laws that prohibit a Member of the
                                                                                Legislature whose term of office commences on or after December 3,
      This amendment proposed by Senate Constitutional Amendment 17 of          1990, from lobbying, for compensation, as governed by the Political
      the 2013–2014 Regular Session (Resolution Chapter 127, Statutes           Reform Act of 1974, before the Legislature for 12 months after
      of 2014) expressly amends the California Constitution by amending         leaving office.
      a section thereof; therefore, existing provisions proposed to be
      deleted are printed in strikeout type and new provisions proposed         (f) The Legislature shall enact new laws, and strengthen the
      to be added are printed in italic type to indicate that they are new.     enforcement of existing laws, prohibiting Members of the Legislature
                                                                                from engaging in activities or having interests which conflict with
                                                                                the proper discharge of their duties and responsibilities. However,
      PROPOSED AMENDMENT TO SECTION 5 OF ARTICLE IV                             the people reserve to themselves the power to implement this
      That Section 5 of Article IV thereof is amended to read:                  requirement pursuant to Article II.
      SEC. 5. (a) (1) Each house of the Legislature shall judge the
      qualifications and elections of its Members and, by rollcall vote
      entered in the journal, two thirds two-thirds of the membership
      concurring, may expel a Member.
      (2) (A) Each house may suspend a Member by motion or resolution
      adopted by rollcall vote entered in the journal, two-thirds of the
      membership concurring. The motion or resolution shall contain
      findings and declarations setting forth the basis for the suspension.
      Notwithstanding any other provision of this Constitution, the house
      may deem the salary and benefits of the Member to be forfeited for
      all or part of the period of the suspension by express provision of the
      motion or resolution.
      (B) A Member suspended pursuant to this paragraph shall not
50    exercise any of the rights, privileges, duties, or powers of his or her
      office, or utilize any resources of the Legislature, during the period
      the suspension is in effect.
      (C) The suspension of a Member pursuant to this paragraph shall
      remain in effect until the date specified in the motion or resolution
      or, if no date is specified, the date a subsequent motion or resolution
      terminating the suspension is adopted by rollcall vote entered in the
      journal, two-thirds of the membership of the house concurring.
      (b) No Member of the Legislature may accept any honorarium. The
      Legislature shall enact laws that implement this subdivision.
      (c) The Legislature shall enact laws that ban or strictly limit the
      acceptance of a gift by a Member of the Legislature from any source
      if the acceptance of the gift might create a conflict of interest.
      (d) No Member of the Legislature may knowingly accept any
      compensation for appearing, agreeing to appear, or taking any other
      action on behalf of another person before any state government board
      or agency. If a Member knowingly accepts any compensation for
      appearing, agreeing to appear, or taking any other action on behalf
      of another person before any local government board or agency, the
      Member may not, for a period of one year following the acceptance
      of the compensation, vote upon or make, participate in making, or
      in any way attempt to use his or her official position to influence an
      action or decision before the Legislature, other than an action or
      decision involving a bill described in subdivision (c) of Section 12 of
      this article, which he or she knows, or has reason to know, would have
      a direct and significant financial impact on that person and would
      not impact the public generally or a significant segment of the public
      in a similar manner. As used in this subdivision, “public generally”
      includes an industry, trade, or profession. However, a Member may
      engage in activities involving a board or agency which are strictly on
      his or her own behalf, appear in the capacity of an attorney before
      any court or the Workers’ Compensation Appeals Board, or act as an
      advocate without compensation or make an inquiry for information
      on behalf of a person before a board or agency. This subdivision does
      not prohibit any action of a partnership or firm of which the Member
      is a member if the Member does not share directly or indirectly in
      the fee, less any expenses attributable to that fee, resulting from
      that action.

 26 | Text of Proposed Law
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Assistance for Voters with Disabilities
State and federal laws require polling places to be physically accessible to voters with disabilities. County
elections officials inspect each site and often make temporary modifications for Election Day. Every person
who works in a polling place is trained in election laws and voter rights, including the need to make reasonable
modifications of policies and procedures to ensure equal access.

State and federal laws require that all voters be able to cast their ballots privately and independently. Each
polling place must have at least one voting machine that allows all voters, including those who are blind or
visually impaired, to cast a ballot without assistance. The voting machine permits voters to verify their vote
choices and, if there is an error, allows voters to correct those choices before submitting their ballot.



Check your sample ballot
                Your county sample ballot booklet will:

                •     Describe how persons with disabilities can vote privately and independently

                •     Display a wheelchair symbol if your polling place is accessible to voters with disabilities


At the polling place
If you need help marking your ballot, you may choose up to two people to help you. This person cannot be:

•      Your employer or anyone who works for your employer

•      Your labor union leader or anyone who works for your labor union

Curbside voting allows you to park as close as possible to the voting area. Elections officials will bring you a
roster to sign, a ballot, and any other voting materials you may need, whether you are actually at a curb or in a
car.

Contact your county elections office to see if curbside voting is available at your polling place.



State Voter Information Guide vs.
County Sample Ballot Booklet
As a registered voter you will receive two information resources by mail:

State Voter Information Guide (this guide)                    Your County Sample Ballot Booklet
Contains information about federal candidates                 Contains a sample of your ballot and information
and statewide propositions.                                   about local candidates, ballot measures, and your
Candidate Information:                                        polling place location.
President (online at                                          Candidate Information:
www.voterguide.sos.ca.gov)                                    U.S. Representative in Congress
U.S. Senate                                                   State Senator
State Propositions:                                           Member of the State Assembly
Proposition 50                                                Other local offices
                                                              Local Ballot Measures:
                                                              Vary by county

                                                                                                                    27
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     Provisional Voting
     If your name is not on the voter list at your polling place, you have the right to vote a provisional ballot.


     What Is a Provisional Ballot?
     A provisional ballot is a regular ballot that is placed in a special envelope prior to being put in the ballot box.


     Who Casts a Provisional Ballot?
     Provisional ballots are ballots cast by voters who:

     •   Believe they are registered to vote even though their names are not on the official voter registration list at
         the polling place.

     •   Vote by mail but did not receive their ballot or do not have their ballot with them, and instead want to vote
         at a polling place.


     What Happens After You Cast a Provisional Ballot?
     Your provisional ballot will be counted after elections officials have confirmed that you are registered to vote in
     that county and you did not already vote in that election.

     You may vote a provisional ballot at any polling place in the county in which you are registered to vote,
     however, only the elections contests you are eligible to vote for will be counted.



     How Can You Check The Status of Your Provisional Ballot?
     Every voter who casts a provisional ballot has the right to find out from their county elections official if the
     ballot was counted and, if not, the reason why it was not counted.


            Visit http://www.sos.ca.gov/elections/ballot-status for a list of county contacts and information on how
             to check the status of your provisional ballot.




     Election Day Information
     Polls are open from 7:00 a.m. to 8:00 p.m. on Tuesday, June 7. If you are in line before 8:00 p.m., you can still vote.


     4 ways to find your polling place:

         Check the back cover of the sample ballot booklet your county elections official mailed to you

     ✆ Calling (800) 345-VOTE (8683)
      Online at www.sos.ca.gov/elections/polling-place
         Text Vote to GOVOTE (468683)




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County Elections Offices
Alameda County                             Madera County                          San Luis Obispo County
(510) 272-6973                             (559) 675-7720                         (805) 781-5228 or (805) 781-5080
www.acgov.org/rov                          www.madera-county.com                  www.slovote.com
Alpine County                              Marin County                           San Mateo County
(530) 694-2281                             (415) 473-6456                         (650) 312-5222
www.alpinecountyca.gov                     www.marinvotes.org                     www.shapethefuture.org
Amador County                              Mariposa County                        Santa Barbara County
(209) 223-6465                             (209) 966-2007                         (805) 568-2200 or (800) 722-8683
www.co.amador.ca.us/government/elections   www.mariposacounty.org                 www.sbcvote.com
Butte County                               Mendocino County                       Santa Clara County
(530) 538-7761 or                          (707) 234-6819                         (408) 299-8683 or (866) 430-8683
(800) 894-7761 (within Butte               www.co.mendocino.ca.us/acr/elections   www.sccvote.org
County)                                    Merced County                          Santa Cruz County
http://buttevotes.net                      (209) 385-7541 or (800) 561-0619       (831) 454-2060
Calaveras County                           www.mercedelections.org                www.votescount.com
(209) 754-6376 or (209) 754-6375           Modoc County                           Shasta County
www.elections.calaverasgov.us/             (530) 233-6205                         (530) 225-5730
elections.aspx                             www.co.modoc.ca.us                     www.co.shasta.ca.us
Colusa County                              Mono County                            Sierra County
(530) 458-0500 or (877) 458-0501           (760) 932-5537 or (760) 932-5530       (530) 289-3295
www.countyofcolusa.org/elections           www.monocounty.ca.gov/elections        www.sierracounty.ca.gov
Contra Costa County                        Monterey County                        Siskiyou County
(925) 335-7800                             (831) 796-1499 or (866) 887-9274       (530) 842-8084
www.cocovote.us                            www.montereycountyelections.us/        www.sisqvotes.org
Del Norte County                           Napa County                            Solano County
(707) 464-7216 or (707) 465-0383           (707) 253-4321 or (707) 253-4374       (707) 784-6675
www.co.del-norte.ca.us                     www.countyofnapa.org                   www.solanocounty.com/elections
El Dorado County                           Nevada County                          Sonoma County
(530) 621-7480 or (800) 730-4322           (530) 265-7115                         (707) 565-6800 or (800) 750-VOTE
www.edcgov.us/elections                    www.mynevadacounty.com/nc/elections/   vote.sonoma-county.org
Fresno County                              Pages/Home.aspx                        Stanislaus County
(559) 600-8683                             Orange County                          (209) 525-5200 or (209) 525-5201
www.co.fresno.ca.us/elections              (714) 567-7600                         www.stanvote.com
Glenn County                               www.ocvote.com                         Sutter County
(530) 934-6414                             Placer County                          (530) 822-7122 or (530) 713-3226
www.countyofglenn.net/elections            (530) 886-5650                         www.suttercounty.org/elections
Humboldt County                            www.placerelections.com                Tehama County
(707) 445-7481                             Plumas County                          (530) 527-8190
humboldtgov.org/elections                  (530) 283-6256 or (844) 676-8683       www.co.tehama.ca.us
Imperial County                            www.countyofplumas.com                 Trinity County
(442) 265-1074                             Riverside County                       (530) 623-1220
www.co.imperial.ca.us                      (951) 486-7200 or (800) 773-8683       www.trinitycounty.org
Inyo County                                www.voteinfo.net                       Tulare County
(760) 878-0224                             Sacramento County                      (559) 624-7300
elections.inyocounty.us                    (916) 875-6451 or (800) 762-8019       http://www.tularecounty.ca.gov/
Kern County                                www.elections.saccounty.net            registrarofvoters/
(661) 868-3590                             San Benito County                      Tuolumne County
www.co.kern.ca.us/elections                (831) 636-4016 or (831) 636-4017       (209) 533-5570
Kings County                               www.sbcvote.us                         www.co.tuolumne.ca.us/elections
(559) 852-4890                             San Bernardino County                  Ventura County
www.countyofkings.com                      (909) 387-8300 or (800) 881-8683       (805) 654-2664
Lake County                                www.sbcountyelections.com              venturavote.org
(707) 263-2372                             San Diego County                       Yolo County
www.co.lake.ca.us/government/directory/    (858) 565-5800                         (530) 666-8133 or (800) 649-9943
rov.htm                                    www.sdvote.com                         www.yoloelections.org
Lassen County                              San Francisco County                   Yuba County
(530) 251-8217 or (530) 251-8352           (415) 554-4375                         (530) 749-7855
http://www.lassencounty.org                www.sfelections.org                    www.yubaelections.org
Los Angeles County                         San Joaquin County
(800) 815-2666 Option 2 or                 (209) 468-2890
(562) 466-1323                             www.sjcrov.org
www.lavote.net


                                                                                                      County Elections Offices   |   29
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     Audio & Large Print Voter Information Guides
     This guide is available at no cost in English, Chinese, Hindi, Japanese, Khmer, Korean, Spanish, Tagalog, Thai,
     and Vietnamese.

     To order:

     ✆ Call the Secretary of State’s toll-free voter hotline at (800) 345-8683
      Visit www.sos.ca.gov
         Download an audio MP3 version at www.voterguide.sos.ca.gov/en/audio



     Voter Registration
     If you have already registered to vote, you do not need to reregister unless you change your name, home
     address, mailing address or if you want to change or select a political party.

     You can register to vote online at RegisterToVote.ca.gov. Or call the Secretary of State’s free Voter Hotline at
     (800) 345-VOTE (8683) to get a form mailed to you.

     Voter registration forms can be found at most post offices, libraries, city and county government offices, county
     elections offices, and the California Secretary of State’s Office.




     Voter Registration Privacy Information
     Safe at Home Confidential Voter Registration Program: Certain voters facing life-threatening
     (i.e. domestic violence, stalking victims) situations may qualify for confidential voter status. For more
     information, contact the Secretary of State’s Safe at Home program toll-free at (877) 322-5227 or visit
     http://www.sos.ca.gov/registries/safe-home.

     Voter Information Privacy: Information on your voter registration affidavit will be used by elections officials to
     send you official information on the voting process, such as the location of your polling place and the issues
     and candidates that will appear on the ballot. Commercial use of voter registration information is prohibited
     by law and is a misdemeanor. Voter information may be provided to a candidate for office, a ballot measure
     committee, or other person for election, scholarly, journalistic, political, or governmental purposes, as
     determined by the Secretary of State. Driver license and social security numbers, or your signature as shown on
     your voter registration card, cannot be released for these purposes. If you have any questions about the use of
     voter information or wish to report suspected misuse of such information, please call the Secretary of State’s
     Voter Hotline at (800) 345-VOTE (8683).




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                   DATES TO REMEMBER!



           REMEMBER TO VOTE!
           Polls are open from 7:00 a.m. to 8:00 p.m. on Election Day!



                   MAY                           May 9, 2016
                                                 First day to vote-by-mail.
S      M       T    W      T     F     S
                                                 May 23, 2016
1      2       3     4    5     6      7         Last day to register to vote.

8      9      10    11    12    13    14         May 31, 2016
15    16      17    18    19    20    21         Last day that county elections
                                                 officials will accept any
22    23      24    25    26    27    28         voter’s application for a
                                                 vote-by-mail ballot.
29    30      31




                   JUNE
S      M       T    W      T     F     S
                     1    2     3      4         June 7, 2016
5      6       7     8    9     10    11         Election Day!
12    13      14    15    16    17    18
19    20      21    22    23    24    25
26    27      28    29    30


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California Secretary of State                                                                                                NONPROFIT
Elections Division                                                                                                          U.S. POSTAGE
1500 11th Street                                                                                                                 PAID
Sacramento, CA 95814                                                                                                         CALIFORNIA
                                                                                                                             SECRETARY
                                                                                                                              OF STATE




                                                  CALIFORNIA PRESIDENTIAL


                                PRIMARY ELECTION
                       Text Vote to GOVOTE (468683) to find the location of your polling place.


           OFFICIAL VOTER INFORMATION GUIDE                        For additional copies of the Voter Information Guide
                                                                   in any of the following languages, please call:
                            Tuesday, June 7, 2016
                              Remember to Vote!                    English: (800) 345-VOTE (8683)
       Polls are open from 7:00 a.m. to 8:00 p.m.                  TDD: (800) 833-8683
                                                                   Español/Spanish: (800) 232-VOTA (8682)
                                                    May 9          中文 /Chinese: (800) 339-2857
                                  First day to vote-by-mail.            /Hindi: (888) 345-2692
                                                                           /Japanese: (800) 339-2865
                                                  May 23              /Khmer: (888) 345-4917
                                Last day to register to vote.
                                                                            /Korean: (866) 575-1558
                                                  May 31           Tagalog: (800) 339-2957
              Last day that county elections officials will                /Thai: (855) 345-3933
  accept any voter’s application for a vote-by-mail ballot.                    /Vietnamese: (800) 339-8163

               In an effort to reduce election costs, the State Legislature has authorized the State and counties to mail only
              one guide to addresses where more than one voter with the same surname resides. You may obtain additional
                               copies by contacting your county elections official or by calling (800) 345-VOTE.
                                                                                                                      OSP 16 139402
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            EXHIBIT B
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AP16:036

FOR IMMEDIATE RELEASE
February 23, 2016
CONTACT: Sam Mahood
(916) 653-6575

Secretary of State Padilla Releases Official Voter Information
                   Guide for Public Display
SACRAMENTO – Secretary of State Alex Padilla today made the June 7, 2016, Official Voter
Information Guide available for public review. The guide, which is mailed to every voting
household in California, includes U.S. Senate candidate statements, arguments for and against
Proposition 50, and other important election information. California’s Official Voter Information
Guide is available in 10 languages – English, Spanish, Chinese, Hindi, Japanese, Khmer, Korean,
Tagalog, Thai and Vietnamese.

“The Official State Voter Information Guide includes a wealth of information for voters as they
prepare for the June 7 Presidential Primary Election,” Secretary of State Alex Padilla said. “The
Voter Information Guide includes nonpartisan analysis and candidate statements that can help
voters make informed decisions.”

The guide is available for public inspection from February 23 through March 14 at:
http://www.sos.ca.gov/elections/upcoming-elections/june-7-2016-presidential-primary-
election/public-display-vig/ and at the Secretary of State’s offices in Sacramento and Los
Angeles. During this public display period, anyone may challenge any portion of the Official
Voter Information Guide in Sacramento Superior Court. After March 14, the guide is finalized
and printed.

The Secretary of State’s office will begin mailing the Official Voter Information Guide to all
households that have at least one registered voter beginning April 28 and ending May 17. The
finalized Official Voter Information Guide will be available online at voterguide.sos.ca.gov.
Audio and large print versions will be available as well. Additional hard copies or guides in any
of the languages can be requested from the Secretary of State’s Elections Division by calling
(800) 345-VOTE (8683) or by email at vigfeedback@sos.ca.gov.

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            EXHIBIT C
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                Section 1: Ensuring and Protecting the Rights of Every Voter
Poll worker training should include an overview of the mission and role of the poll
worker, which is to help every registered voter cast a ballot and ensure each ballot is
safely secured until it can be counted. This requires the poll worker to provide a positive
voting experience and ensure the rights of everyone seeking to vote are protected. Poll
workers should be trained to approach their task with a customer service mentality to
make each voter’s experience as positive as possible. To fulfill that role, poll workers
should be familiar with the rights of voters, be trained in cultural sensitivity, know how
and when to assist voters with disabilities, know how and when to assist voters with
specific needs, and know their responsibilities and the limits to their authority. These
four areas of knowledge are discussed independently below, but are components that
should be integrated in the overall requirement to ensure the rights of voters are
protected, respected, and valued.

A. Poll Workers Should Know the Rights of Voters
All poll worker training should include a review of the rights of voters, with special
emphasis placed on the rights discussed below.
General Rights
      Right to Cast a Ballot

      •    Every validly registered voter has a right to cast a ballot. A validly registered voter
           is a United States citizen who is a resident of California, is at least 18 years old,
           is not imprisoned or on parole for conviction of a felony, is not currently found to
           be mentally incompetent by a court of law, and who is registered to vote at his or
           her current residence address. (California Elections Code § 2300(a)(1))*

      •    At all elections, a voter claiming to be properly registered, but whose valid
           registration cannot be established by examining the voter index for the precinct
           or the records on file with the county elections official, shall be entitled to vote a
           provisional ballot. (§§ 2300(a)(2), 14310)

      •    A voter has the right to cast a secret ballot free from intimidation. Poll workers
           should be trained to watch for and address any form of intimidation, which
           includes electioneering activities (see Section 3 of these standards). Poll
           workers should also provide voters with disabilities, or any voter requiring
           assistance, the same opportunity for privacy when marking their ballots as they
           provide to all other voters. (§§ 2300(a)(4), 18540; California Constitution,
           art. II, § 7)
      •    Poll workers must be trained about the right of voters to cast a ballot if they are in
           line at the polling place when the polls close at 8:00 p.m. Voters who are in line
           at the polling place at the time polls close are entitled to vote and must be
           allowed to exercise that right. (§§ 2300(a)(3), 14212, 14401, 14402)


*
    All references are to the California Elections Code, unless otherwise specified.
                                                         1
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Rights of Voters Who are Required to Provide Identification

•    Under federal law, first-time voters who registered by mail may be required to
     show identification to vote. Poll workers may only ask a voter to provide their
     identification if the voter index clearly states identification is required. This
     notation on the voter index will be made when the voter mailed in a voter
     registration form without providing a driver license number or the last four digits
     of their social security number. (Section 303 of the Help America Vote Act of
     2002 (HAVA),52 United States Code (U.S.C.) § 21083(b); Cal. Code of Regs., tit.
     2 § 20107)

•    Poll workers may only ask a voter to provide identification if the voter index
     explicitly states identification is required because the voter is a new voter who
     mailed in a voter registration form without identification. When asking for
     identification, the poll workers should know which forms of identification are
     acceptable and that a photo identification is not required, but is simply one of
     several acceptable forms of identification.

•    Poll workers should also be instructed that a photo identification does not have to
     contain the voter’s address or be issued by a government agency.

•    Poll workers should be provided with a list of examples of acceptable forms of
     identification as listed in Section 20107 of the California Code of Regulations.

•    Poll workers should explain to those voters why they, and not all voters, are
     being asked to show identification.

•    Poll workers should clearly explain that if a voter who is required to provide
     identification does not have any acceptable form of identification or does not wish
     to provide identification, the voter is entitled to cast a provisional ballot and should
     be politely offered one. (§ 14310; Cal. Code of Regs., tit. 2 § 20107(c))

Rights of Voters Who Decline to State a Political Party Preference or Register
with a Nonqualified Political Party

•    Poll workers should have a thorough understanding of the rights and options of
     voters who are not registered with a qualified political party, but are registered as
     No Party Preference (NPP) voters (voters who have declined to state a political
     party preference) or are registered with nonqualified political parties. For the
     purposes of this section, any reference to NPP voters includes both those voters
     who have declined to state a political party preference and those who are
     registered with nonqualified political parties.

•    During a primary election that includes at least one partisan public office (e.g.,
     United State President) on the ballot, there should be a nonpartisan ballot and
     a separate ballot for each qualified political party. It is important for trainers to
     clearly distinguish between ballots for qualified political parties and nonpartisan
     ballots. (§§ 334, 337, 13102(a))
                                            2
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•   A political party may adopt a party rule that allows a person who is registered as
    a NPP voter to vote the ballot of that political party in the partisan primary
    election. (§ 13102(c))

•   If a voter is registered as a NPP voter, they shall be given a nonpartisan ballot.
    However, this voter is entitled to vote the ballot of a political party that has
    authorized NPP voters to vote the ballot of that political party. (§ 13102(b))

•   County elections officials should train poll workers how to use and distribute NPP
    voter information materials including, but not limited to, signs, posters, and
    written information, to inform these voters that they may request a ballot of a
    political party that has authorized a NPP voter to “crossover” to vote the ballot of
    that political party for a particular election. The poll worker should provide
    information to the NPP voter in a way that avoids any advocacy towards a
    particular party’s ballot.

•   County elections officials should train poll workers how to properly record which
    political party’s ballot was requested or whether a nonpartisan ballot was
    requested by each NPP voter. (§ 13102(d))

•   Prior to each partisan primary election, poll workers should be reminded that
    the ballot options available for voters who are not registered with a political
    party can change with each election, so they should rely only on the most
    current information.

Right to a Provisional Ballot

•   If a voter requests a provisional ballot, or believes they are registered to vote
    despite not being listed on the voter index, the voter may cast a provisional ballot
    and must be told how to find out if the ballot was ultimately counted, and if not,
    why not. In poll worker training, emphasis should be placed on checking
    supplemental indexes to ensure voters are not being unnecessarily required to
    cast provisional ballots. It is ultimately the duty of the county elections official,
    not an individual poll worker, to determine whether a provisional ballot is eligible
    to be counted. (§§ 2300(a)(2), 14310, 14312)

•   A voter who is listed as a vote-by-mail voter, but who does not bring the vote-by-
    mail ballot to the polls on Election Day, has a right to cast a provisional ballot.(§§
    3016, 14310)

Right to Replace a Spoiled Ballot

•   Poll workers should be aware that a voter has the right to receive a new ballot if,
    prior to casting a ballot, a voter makes a mistake marking votes. A vote-by-mail
    voter may also request and receive a new ballot if the voter surrenders the blank
    or spoiled vote-by-mail ballot to an elections official before the polls close on
    Election Day. However, a voter can only receive two replacement ballots. Poll
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    workers should alert a voter who spoils their initial ballot that they are only
    entitled to two more replacements and should exercise caution when casting a
    replacement ballot. (§§ 2300(a)(5), 3015, 14288)

Right to Instruction on the Use of Voting Equipment

•   A voter has the right to receive instruction on how to cast a ballot using the voting
    equipment in the polling place. Poll workers should be trained that any person
    who asks to vote on a direct recording electronic voting system (DRE) or any other
    voting machine is entitled to do so. No voter is required to prove a disability or
    justify the request to use any machine in the polling place to cast a ballot. Poll
    workers should be reminded that not all disabilities are visible. Poll workers
    should be adequately trained to use all equipment and be available to help voters
    understand how to use it properly. Furthermore, poll workers should understand
    the proper procedures and tools available for demonstrating the voting system,
    including the use of specially marked demonstration ballots. Each voter who uses
    a paper ballot should be instructed how to fold the ballot or place it in a secrecy
    sleeve or folder so the voter’s selections are not visible. (§§ 14272, 14275,
    14292)

Election Day Posting Requirements

•   Poll workers should be informed what materials are to be posted at the polls on
    Election Day and where and how each item should be posted. This includes
    flags (and how to properly hang them and ensure they are easily visible to guide
    voters to the polling place), Voter Bill of Rights posters (which the law requires to
    be “conspicuously posted both inside and outside every polling place”), updated
    indexes, election date and polling place hours, sample ballots for all precincts at
    the polling place in all required languages, instructions on how to cast a
    provisional ballot, instructions for mail-in registrants and first-time voters, and
    information on federal and state laws regarding fraud and misrepresentation
    (e.g., a sign warning against tampering with voting equipment). (§§ 2300(d)(2),
    14105, 14105.3, 14200-14202, 18564)

Materials in the Voting Booth

•   State and federal law do not prohibit voters from bringing the Secretary of State’s
    Voter Information Guide, a sample ballot, a copy of the Voter Bill of Rights, or
    other similar explanatory materials into the voting booth. However, the law does
    preclude voters from bringing electioneering materials (see Section 3,
    Electioneering) into the voting booth or within 100 feet of the polling place.
    (§ 18370)

Right to Report Fraud or Illegal Activity

•   Voters have the right to report any illegal or fraudulent activity at or near the polls
    to a local elections official or to the Secretary of State’s office. The Secretary of
    State’s office can be reached at (800) 345-VOTE (8683). If a poll worker is
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       asked how to report illegal or fraudulent activity, the poll worker should provide
       the voter with that information. (§ 2300(a)(10))

   •   A poll worker should inform a voter they can file a written complaint regarding
       any alleged violation of federal or state election laws. For questions related to
       HAVA complaints, the voter should be directed to the Secretary of State’s office
       for assistance. The Secretary of State’s office may be reached at (916) 657-
       2166 or elections@sos.ca.gov. (52 U.S.C. § 21112(a)(2)(C))

Other Rights

Voters are entitled to additional rights, depending on the circumstances. Poll workers
should be accommodating and flexible to ensure these rights are protected as well.

   Rights of All Voters to Receive Assistance at Polls

   •    Voters who, for any reason, need or want assistance to vote have the right to
        receive help to mark a ballot. A voter can bring one or two people into the voting
        booth, or the voter may request assistance from a poll worker. Poll workers
        should be trained in what (and what not) to do if asked to assist. For example, it
        is a violation of state and federal law to disclose how a person votes. (§§
        2300(a)(6) , 1 4 2 2 4 , 14282)

   •    County elections officials should train poll workers how to properly record the
        voters who have been assisted in marking their ballots. (§ 14283)

   Rights of Voters with Disabilities

   •    Voters with disabilities have the right to vote privately and independently, the
        right to have a voting station reasonably modified, the right to have barriers
        removed from the voting process, and the right to receive additional aids and
        services. At least one accessible voting unit must be available in each polling
        place where an election is being conducted. (HAVA § 301(a)(3)(B); § 19242(b))

   •    Voters with disabilities have the right to an accessible polling place. Poll workers
        need to be trained on how to use every voting machine that is offered in the
        polling place and on procedures for curbside voting if the voter is unable to enter
        the polling place. A list of voters who have requested assistance must be
        maintained and returned to the elections official. (§§ 12280, 14282, 14283)

   •    Under federal anti-discrimination laws, poll workers must permit a service animal
        to accompany a voter with a disability (e.g., a guide dog for a visually impaired
        person). Poll workers should walk on the side of the voter that is on the opposite
        side of the service animal. They should not pet or engage a service animal
        without permission from the owner. A service animal can be any trained
        domestic animal for the purpose of assisting the voter. Service dogs can be any
        breed or size. (Code of Federal Regulations, Title 28, § 35.136)

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•   A person with a disability who is unable to write may use a signature stamp
    (which must be approved by the county elections official or the Department of
    Motor Vehicles prior to Election Day), or authorize another person to use the
    stamp, on any elections-related document that requires a signature (including a
    vote-by-mail ballot envelope). A signature stamp on a vote-by-mail envelope is
    treated in the same manner as a written signature. (§ 354.5)

•   All eligible citizens have the right to register to vote unless a court has currently
    determined them to be mentally incompetent or they are otherwise ineligible
    because they are imprisoned or on parole for conviction of a felony. It is not up to
    poll workers to determine a person’s registration qualification or competence to
    vote. Sometimes poll workers, upon encountering a voter who is disabled, may
    question the person’s competence to vote. Poll workers should be trained to
    provide the same respectful and courteous level of service to a voter with a
    disability as they would to any other voter. No voter who is on the voter index is
    required to show any identification unless they are a first-time voter who
    registered to vote by mail and are so noted in the index, or to prove their
    competence to receive or cast a ballot. Poll workers should be reminded that if a
    voter’s name is not on the voter index, they are still entitled to cast a provisional
    ballot. (§§ 2000, 2101, 2300(a)(1), (2), 14310; Cal. Const., art. II, § 2; HAVA §
    303(a)(5); Cal. Code of Regs., tit. 2 § 21017)

•   Voters with disabilities should not be asked or permitted to fill out their ballots at
    the table where poll workers are checking in voters, even if the voters have
    requested assistance in filling out their ballots, because the secrecy of the ballot
    may be compromised. A separate table or voting booth compliant with the
    Americans with Disabilities Act (ADA) should be provided nearby.

•   For additional information on assisting voters with disabilities, see page 10.

Rights of Voters with Limited English Proficiency

•   The federal Voting Rights Act provides that in some precincts, ballots and
    election materials must be printed and provided in other languages spoken by
    voters. Poll workers should be appropriately trained to offer alternate-language
    ballots, including bringing to the voter’s attention the availability of alternate-
    language materials. Poll workers should not make any comments regarding
    voters who ask to use alternative language materials. The county elections
    official may want to provide poll workers with written materials explaining how to
    appropriately offer ballots and voting materials in other languages. (§ 12303)

•   Voters who need or want assistance to vote have the right to receive help in
    casting a ballot. A voter who is not proficient in English can bring one or two
    people into the voting booth, or the voter may request assistance from a bilingual
    poll worker. Poll workers should be trained in how best to communicate with
    voters who do not speak English or voters who have limited English proficiency.
    (§§ 2300(a)(8), 12303)

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•   Poll workers should also be instructed to respect people from backgrounds
    different from their own, including those who do not speak English fluently. Poll
    workers should be reminded that all voters must be treated with the utmost
    respect and courtesy.

•   Voters will generally understand if poll workers are busy, but no voter should
    have to tolerate rudeness or disrespect, particularly if the inappropriate treatment
    is aimed at them because of a disability or limited English skills. Voters needing
    language assistance should not be asked to step aside while other voters are
    serviced first; all voters should be processed in the order in which they appear to
    vote.

Rights of Voters Accompanied by Children

•   A voter who is accompanied by children below the age of 18 may take the
    children into the voting booth. (§ 14222)

Rights of Vote-by-Mail Voters

•   Every voter has a right to vote by mail and to register as a permanent vote-by-
    mail voter. (§§ 3001, 3003, 3201)

•   To be counted, vote-by-mail ballots that are returned in person must be must be
    delivered to the county elections office that issued it or to any polling place in that
    county no later than the close of polls at 8:00 p.m. on Election Day. Vote-by-mail
    ballots that are mailed must be postmarked on or before Election Day and
    received by the county elections office that issued it no later than three days after
    Election Day.. The voter or a designated third party may deliver the vote-by-mail
    ballot to the county elections office or the polling place. Vote-by-mail ballots cast
    after the polls close will not be counted. (§§ 2300(a)(7), 3017(a), 3018, 3020)

•   A voter listed as a vote-by-mail voter who wants to vote at the polling place may
    surrender their vote-by-mail ballot in exchange for a regular ballot. A voter who
    does not bring their vote-by-mail ballot has a right to vote using a provisional
    ballot. (§§ 3015, 3016, 14310)

Rights of Elections Observers

•    Only poll workers and voters engaged in voting may be within the voting booth
     area when the polls are open. Other people may be in the polling place
     observing the process as long as they do not interfere with any voter’s right to
     cast a secret ballot or a poll worker’s ability to work. Poll workers should be
     taught how to treat elections observers, as well as what elections observers are
     and are not allowed to do. (§ 14221)

•    Poll workers should be made aware that people have the right to observe the
     election process, even if they are not voting. Observers may be at the polls
     before they open to the public, during polling hours, and after the polls close.
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         Observers have the right to ask poll workers questions about elections
         procedures and to receive an answer or be directed to the appropriate official for
         an answer. However, if persistent questioning disrupts the poll workers’ duties,
         the poll workers can stop responding and direct the observers to the county
         elections office for further answers. (§ 2300(a)(9))

    •    Frequently, people visit polling places on Election Day to check the voter index.
         These may be people working for campaigns who want to determine which
         voters have cast their ballots. Poll workers should be provided with instructions
         on how best to interact with these people. Poll workers should also be trained
         how to update the voter indexes and post such information in an accessible
         location, which is required by law to be completed at least once each hour, up to
         and including 6:00 p.m. (§ 14294)

    Rights of News Media and Pollsters

         •   Members of the news media and opinion-polling researchers are required to
             abide by different rules than elections observers. Clearly identified members
             of the news media may speak to voters leaving the polling place as long as
             they do not interrupt voting and are at least 25 feet from the polling place
             entrance. However, unless allowed by the county elections official, no voter
             may be photographed, videotaped, or filmed entering or exiting a polling
             place, or filmed inside the polling place, without their permission. Pollworkers
             should be aware that members of the media should contact the county
             elections official before the election to prevent any problems or confusion on
             Election Day. (§ 18541)

B. Poll Workers Should Be Trained in Cultural Sensitivity

Given the great diversity of California’s population, poll workers should be instructed to
treat voters of all backgrounds with equal respect. Poll workers should be trained on
cultural sensitivity – the ability to recognize and respond to cultural concerns and
sensitivities of various groups. Poll workers should be made aware of relevant differences
between cultures and how the actions of a poll worker may be viewed differently than
intended.

    Cultural Sensitivity

    •    Training should include information about people who speak languages other
         than English; people from racial or ethnic minorities; people who have physical,
         sensory, or mental disabilities; people with low literacy skills; and people who are
         elderly.

    Respect for Differences

    •    Poll workers should be taught that everyone in the polling place must be treated
         with the utmost level of respect and be provided with the same level of service,
         regardless of what language the voter speaks. Many U.S. citizens speak
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     languages other than English, and in many California counties, federal law
     requires ballots to be available in languages other than English. When
     multilingual ballots are available, voters should be offered a choice. In addition,
     any voter, including non-English speaking voters and voters with limited literacy
     skills, is allowed to bring up to two people to help them to vote. (§ 12303)

•    Poll workers should be trained on appropriate language to use when speaking to
     a voter with a disability. For example, the person is not a blind voter, but rather,
     a voter who is visually impaired. The voter is not wheelchair bound, but rather,
     the voter uses a wheelchair.

•   Poll workers should be encouraged to be considerate and patient, anticipate
    voters’ needs, and offer assistance when possible. For example, when checking
    in a voter, the poll worker should politely determine how to spell the voter’s
    name. Train poll workers to politely ask voters how to spell their names, provide
    paper and pen for a voter to write down the name, or, for spelling purposes,
    accept a voter’s offer to show his or her name in print on an identification card or
    other document. Poll workers may not require proof of identity except under the
    circumstances outlined in Section 1. A. of these standards.

•   Poll workers should be instructed to assess the needs of each voter who might
    need assistance and meet that need in the course of their work, rather than
    treating voters as parts of specific population groups (such as “physically
    disabled” or “second language”).

Offering Assistance

•   Sometimes it can be difficult to realize when a voter needs assistance. Some
    people may be much more independent than they appear to be. However, poll
    workers should be trained not to be afraid to ask voters if they need assistance.
    The poll workers should also be trained to ask voters directly if assistance is
    needed, regardless of whether the voter has brought an interpreter, companion,
    or assistant to the polls. Unless the voter indicates otherwise, all communication
    with the voter should be directed to the voter rather than to any interpreter,
    companion, or assistant. Eye contact is a sign of respect. The county elections
    official may want to provide written materials explaining how to appropriately ask
    voters if assistance is needed.

Three Communication Tools: Wait. Recognize. Listen.

•   Poll workers should be instructed to use three tools on Election Day:

    1. Wait – Suppress the instinct to quickly respond or cut off a question. Wait
       first to process the question, then formulate a reasoned and respectful
       response.

    2. Recognize – Focus on how to recognize other people’s feelings, anticipate
       their needs, and be sensitive, accommodating, and courteous in assisting
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          them.

       3. Listen – Listen before speaking to understand exactly what the voter is
          feeling, seeing, needing, and trying to communicate. It is most important to
          remember to put assumptions aside so poll workers are better able to hear
          and understand a voter’s responses.

   Voter Privacy

   •   Poll workers should be trained to respect a voter’s privacy. Voter privacy is not
       only a courtesy; it is a legal requirement. Training should emphasize the
       importance of voter confidentiality and clearly detail procedures for handling each
       ballot to ensure each voter’s privacy is protected.

   How and When Poll Workers Should Ask for Help

   •    If poll workers find language or any other barrier is interfering with the ability to
        communicate with a voter, they should be taught to ask a bilingual poll worker for
        help or to contact a hotline at the county elections office for assistance. County
        officials should provide the appropriate contact information and the assistance
        necessary to make such contact.

   Display Materials

   •   Poll workers should be trained how to set up and draw voters’ attention to
       instructional materials, including materials offered in other languages. A
       freestanding easel or display board is an effective way to post required notices
       in one place so voters can easily read them before receiving their ballots.

   Removing Insensitive Poll Workers

   •   If a poll worker is identified on Election Day as being culturally insensitive or
       otherwise unsuitable for a particular polling place, that poll worker should be
       reported to the county elections official and immediately removed from the
       precinct.

C. Poll Workers Should Be Trained in How and When to Assist Voters with
   Disabilities

In addition to understanding how to respectfully treat people from different cultures, poll
workers should be trained to assist voters with disabilities. Poll workers should
understand that all voters have the right to vote privately and independently. It is not up
to a poll worker to determine a person’s qualification to register or to vote. Poll workers
should be trained to provide the utmost respectful and courteous level of service to
every voter. Voters with disabilities, like every other voter, must be afforded the ability
to cast their ballots in private.


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Access

•    Poll workers must be instructed how to ensure voters with disabilities can get into
     and maneuver inside the polling place. This includes providing poll workers with
     the mitigating measures that were identified when the polling place was
     evaluated for disability access. Poll workers need to be provided with necessary
     and proper equipment, signs, etc., to ensure the polling place is accessible.
     Access starts by clearly marking the most accessible way to get to the polling
     place. Accessible parking spaces must be clearly marked. This may include
     creating temporary accessible parking spaces closest to the polling place
     entrance. Directional signs will help voters identify the most accessible way to
     get to the polling place and voting equipment. Poll workers should be trained to
     temporarily modify the outside and inside set-up of the polling place (parking,
     tables, chairs, voting booths, etc.) to make it accessible and still ensure voters
     can cast their ballots in private.

•   Poll workers should be taught that not all polling places can be made accessible.
    The law requires each polling place to have at least one accessible voting
    machine. If a polling place is designated as inaccessible because it cannot be
    made accessible with mitigating measures, poll workers will need to direct voters
    with disabilities to a nearby accessible polling place or provide curbside voting.
    Therefore, poll workers must be prepared to provide voters with disabilities from
    other precincts the opportunity to cast provisional ballots.

Curbside Voting

•    If a polling place is not fully accessible, and cannot be made accessible on
     Election Day, poll workers must be familiar with the procedures for conducting
     curbside voting. (§ 14282)

•    Procedures for curbside voting include:

      • Taking the voter index, ballot marking pen, and ballot (in a secrecy
        sleeve) outside to the voter.

      •   Removing the receipt stub before giving the ballot and stub to the voter.

      •   Allowing the voter to mark the ballot in private.

      •   Taking the voted ballot in the secrecy sleeve and marking pen back into the
          polling place and inserting the voted ballot into the ballot box or scanner.

      •   Properly recording the voters who have been assisted in marking their
          ballots. (§ 14283)



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Polling Place Set-up

•    Poll workers should be familiar with how to arrange furniture and equipment at a
     polling place to ensure materials are accessible to all voters and voters with
     disabilities are able to use equipment privately and independently. Set-up
     procedures should provide instructions on how to put together voting booths for
     use by voters who, for example, use wheelchairs. Precinct supplies should
     include aids such as magnifying sheets for voters with sight disabilities, pen
     grips, or signature guides. Poll workers should be prepared to offer the aides to
     voters.

•    Many voters with disabilities have difficulty standing in line for any length of time.
     If a voter asks to use a chair, poll workers should provide one. Poll workers need
     to help such voters keep their place in line if necessary. Also, some voters will
     need to sit down to use audio keypads.

Voting System Access

•    Poll workers need to remember that some voters with disabilities may have
     disabilities that are not visible. When a voter wants to vote on the accessible
     voting machine, poll workers must allow them to use it. Poll workers should not
     question why the voter needs to use the accessible voting machine or assume
     the person does not have a disability simply because the poll worker cannot see
     it.

•   Each polling place must have at least one accessible voting machine. Poll
    workers should ensure voting machines are set up in an accessible manner and,
    if a machine has auxiliary aids that provide or improve access, they should be
    familiar with the proper set-up and use (e.g., magnifying glasses, alternate
    language selection, audio headsets, and tactile controls). Poll workers should be
    trained on how a voting machine can be modified, moved, or set up to
    accommodate individual disability-related access needs. For example, poll
    workers should be trained to adjust the height and angle of the touch screen to
    match the most effective range and reach of voters with limited manual dexterity.
    (§ 19242(b); HAVA § 301(a)(3)(B))

•    Poll workers should be taught to, before the polls open, practice connecting and
     removing equipment that provides accessibility for voters with disabilities to
     ensure the equipment is properly set up. Specific suggestions and techniques
     for improving physical access to voting machines are available in the
     Accessibility Report on the Secretary of State’s website at
     http://www.sos.ca.gov/elections/voting-systems/oversight/top-bottom-
     review/accessibility-review-report-california-top-bottom-voting-systems-review/.

Poll Workers Should Be Trained in Disability Sensitivity

•   Poll workers should be trained on disability sensitivity – the ability to recognize
    and respond to the needs and sensitivities of people with different types of
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    disabilities.

•   Poll workers should be taught disability sensitivity for working with voters with
    disabilities and, in particular, focus on not treating voters with disabilities as less-
    capable voters.

•   Poll workers should do the following when working with voters with disabilities:

        •   Use common sense. People with disabilities want to be treated the same
            way everyone else is treated. A person is a person first; the disability
            comes second.

        •   Avoid patronizing words or actions. Show the person the same courtesy
            and respect that you expect to receive from others. Treat adults as
            adults.

        •   Be considerate and patient. Ask a voter what you can do to assist – do
            not help without asking or assume you know what is needed. Be
            patient if the voter requires more time to accomplish various tasks.

        •   Communicate with the voter. Remember that some people with
            disabilities may have an assistant, interpreter, or companion with them. It
            is important to always look and speak directly to the voter rather than to
            their companion, interpreter, or assistant. Face the voter with a disability
            when you are talking. For example, if you are looking at a voter who is
            blind, you will be speaking directly to them, too.

        •   Keep the path to the voting booth clear. If the polling place is in a
            building with several routes through it, be sure signs are posted to direct
            a person to the most accessible path.

When working with voters who are blind or visually impaired:

•   Identify yourself as a poll worker as soon as you come in contact with the voter.
    If guiding a voter who is blind, offer your arm to the voter, rather than taking the
    voter’s arm. When giving verbal directions to help the voter move through the
    polling place, be as specific as possible and identify obstacles in their way.

•   If the person has a guide dog, walk on the side of the voter opposite from the side
    the dog is on. Do not pet or engage a guide dog without permission from the
    owner. Guide dogs can be any breed or size. If you are unsure if the dog is a
    service animal, simply ask.

•   Describe what you are doing as you do it. If you are going to leave a person
    who is blind or visually impaired, let the person know.




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  When working with voters with speech disabilities and/or who are hard of
  hearing:

  •   A voter who cannot speak can give his or her name and address by simply
      providing identification to a poll worker. The poll worker is required by law to
      then read the name and address out loud. (§ 14216)

  •   Follow the voter’s cues to determine whether speaking, gestures, or writing is the
      most effective method of communication.

  •   If speaking, speak calmly, slowly, and directly to the voter. Do not shout.
      Your facial expressions, gestures, and body movements help the voter
      understand what you are saying. Face the voter at all times.

  •   Rephrase, rather than repeat, sentences that the voter does not understand.

  When working with voters with limited mobility:

  •   Do not push or touch a wheelchair without the owner’s consent. People using
      adaptive equipment consider the equipment to be part of their personal space.

  •   Ask before helping. Grabbing someone’s elbow may throw the person off
      balance. A person with mobility impairments might lean on a door while
      opening it. Quickly opening the door may cause the person to fall.

       •   Fasten mats and throw rugs securely or move them out of the way to prevent
           people from tripping.

       •   Keep floors as dry as possible.

       •   Keep the ramps and accessible doors to the polling place unlocked and free
           of clutter.

   Removing insensitive poll workers

       •   If a poll worker is identified on Election Day as being insensitive to voters
           with disabilities, or is otherwise unsuitable for a particular polling place,
           that poll worker should be reported to the county elections official and
           should be immediately removed from the precinct.

D. Poll Workers Should Know Exactly What Responsibilities and Authority They
   Do and Do Not Have on Election Day

Poll workers are asked to follow and enforce complex rules on Election Day. They are
charged with managing a complex operation and are asked to provide customer service
to equally inexperienced voters.

The large number of rules, election laws, and procedures can intimidate or empower
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poll workers. Either of these reactions can be problematic. Poll workers may allow
themselves to be bullied in ways that jeopardize the integrity of an election. For
instance, poll workers may issue an official ballot to a voter who demands one instead
of the provisional ballot the voter should receive. Alternatively, a poll worker may feel
empowered to exercise authority they don’t have. For example, the poll worker might
refuse to give a provisional ballot to a voter who is entitled to receive one, a decision
that will disenfranchise that voter.

Given differences in human character, these problems cannot be eliminated. However,
elections officials can reduce the potential that such situations will arise through
effective poll worker training and education that emphasizes the mission of the poll
worker, which is to assist every person in voting and to ensure that each ballot is safely
secured until it can be counted. After training, poll workers can be coached and
reminded on Election Day by roving inspectors who visit polling places throughout the
day.

To ensure poll workers have the necessary tools to handle problems and respond to
various situations (e.g., voters whose names cannot be found on the voter index),
training should provide poll workers with:

   •    Easy access to written materials that will help them review procedures and make
        speedy decisions.

   •    The proper tools to quickly reach county officials. They should feel comfortable
        calling for help if they feel they need it. If one poll worker has a question, other
        poll workers should not dissuade them from calling for clarification, particularly if
        a voter could be disenfranchised.

   •    Information they can easily provide to voters who want or need to contact the
        county elections office themselves.

   •    The understanding that roving inspectors will visit them during the day to
        troubleshoot and respond to questions, problems, or needs. Poll workers should
        feel comfortable calling on their roving inspectors or the county elections office at
        any time.

   •    Clear instruction about how to handle electioneering, exit pollsters, and
        elections observers. Poll workers should be taught that if any other
        unfamiliar situation arises on Election Day, they should immediately contact
        the county elections office for assistance.

   •    Instructions to call the county elections office if they feel threatened or
        intimidated, if voters feel threatened or intimidated, or if a disturbance of any kind
        occurs. Poll workers should be instructed to call local law enforcement first if
        they believe the safety of any person in the polling place is in jeopardy.

   •    Clear, unambiguous instruction regarding the limits of their authority. They
        should understand poll workers have no authority to determine who may vote.
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    Case 3:16-cv-02739-WHA Document 37-1 Filed 05/31/16 Page 52 of 109



     Rather, poll workers are required to consult with a supervisor or issue a
     provisional ballot when a question arises.

•    Training to check supplemental voter indexes to ensure voters are not required to
     cast provisional ballots unnecessarily.

•    An understanding they will be asked to leave and/or not be asked to work in the
     next election if they take any actions that threaten the voting process or infringe
     on the rights of voters.




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            EXHIBIT D
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AP16:067

FOR IMMEDIATE RELEASE
May 23, 2016
CONTACT:
Sam Mahood (916) 653-6575

   Today is Final Day for Californians to Register to Vote for
                         June Primary
             Midnight Deadline to Register to Vote or Update Registration Online

SACRAMENTO – Monday, May 23 is the final day for eligible California citizens to register to
vote or to update their voter registration information for the June 7, 2016 Presidential Primary
Election. Californians can register to vote or update voter registration information online through
RegisterToVote.ca.gov until midnight. Paper voter registration applications can be turned into
county elections offices or mailed and postmarked no later than May 23.

"Californians still have time to register to vote for the first time or update their registration
information ahead of the June 7, 2016 Presidential Primary,” Secretary of State Alex Padilla
said.

"It only takes a few minutes and a quick visit to RegisterToVote.ca.gov to ensure that you’re
registered to vote. RegisterToVote.ca.gov is even available in 10 languages. If you've moved,
changed your name, or want to change your political party preference you will need to update
your voter registration no later than midnight on May 23. I encourage all Californians to register
and share a link to RegisterToVote.ca.gov through social media,” Padilla added.

Online voter registration is available in 10 languages: English, Spanish, Chinese, Hindi,
Japanese, Khmer, Korean, Tagalog, Thai, and Vietnamese.

Californians can check their voter registration status through their county elections office. Some
counties have online tools that allow voters to check their voter registration. A full list of contact
information for county elections officials and links to county online voter registration status tools
is available on the Secretary of State’s website at: http://www.sos.ca.gov/elections/registration-
status/

Closed vs. Modified-Closed Presidential Primaries

Qualified political parties are holding their presidential primaries in one of two ways:

   •    Closed presidential primary, in which only voters registered with the party may vote
        that party’s presidential ballot. The Republican Party, Green Party, and Peace and
        Freedom Party are holding closed presidential primaries.
       Case 3:16-cv-02739-WHA Document 37-1 Filed 05/31/16 Page 57 of 109

   •    Modified-closed primary, in which the party also allows voters who registered with no
        party preference to request to receive and vote that party’s presidential ballot. The
        Democratic Party, American Independent Party, and Libertarian Party are allowing
        voters with no party preference to vote their June 7 presidential primary ballot. (A voter
        may not request more than one party’s presidential ballot.)

Voters who registered with a political party may only vote for a presidential candidate running in
that party’s primary election.

Reminder: Voters, regardless of their political party preference, can vote for any candidate
running in their district for the following races: U.S. Senate, U.S. House of Representatives,
State Senate, and State Assembly.

Tips for voters registered with No Party Preference
Voters with no party preference who vote at the polls can request a Democratic Party, American
Independent Party, or Libertarian Party ballot on Election Day from a poll worker.

Voters with no party preference who vote by mail were sent a post-card from their county
elections office asking if the voter would like to receive a ballot with presidential candidates
from the Democratic Party, American Independent Party, or Libertarian Party. Voters who did
not return this post card will receive a non-partisan ballot without presidential candidates.

“There is still time for voters with no party preference to request a new ballot—even if they have
already received a ballot in the mail,” Padilla said.

Q: I am a voter with no party preference, and I received a vote-by-mail ballot with no
presidential candidates. What can I do to request a ballot with presidential candidates?

        •   Contact your county elections office no later than May 31 to request a vote-by-mail
            ballot with presidential candidates from the Democratic Party, American Independent
            Party, or Libertarian Party. Click Here for County Elections Contact Information;
            OR
        •   Bring your vote-by-mail ballot to the polls on Election Day and exchange it for a
            ballot with presidential candidates from the Democratic Party, American Independent
            Party, or Libertarian Party. If you have lost your original vote-by-mail ballot, you will
            have to vote a provisional ballot at the polls—your vote will still be counted; OR
        •   Bring your vote-by-mail ballot to an early voting location in your county and
            exchange it for a ballot with presidential candidates from the Democratic Party,
            American Independent Party, or Libertarian Party. If you have lost your original vote-
            by-mail ballot, you will have to vote a provisional ballot at the polls—your vote will
            still be counted.
            NOTE: Contact your county elections office for early voting locations and
            availability Click Here for County Elections Contact Information

Q: How can a voter with no party preference cast a ballot for Republican Party, Green
Party, or Peace and Freedom Party presidential candidates?
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Voters registered with no party preference who would like to vote in the June 7 Presidential
Primary for a Republican Party, Green Party, or Peace and Freedom Party presidential candidate
must re-register to vote with one of those respective parties no later than May 23, 2016.

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AP16:065

FOR IMMEDIATE RELEASE
May 16, 2016
CONTACT:
Sam Mahood (916) 653-6575

 One Week Remaining for Californians to Register to Vote in
            June 7, 2016 Presidential Primary
   Secretary of State Alex Padilla encourages California citizens to register to vote by May 23

SACRAMENTO – May 23 is the deadline for eligible California citizens to register to vote for
the first time or to update their voter registration information for the June 7, 2016 Presidential
Primary Election.

"Californians have one more week to go until the May 23 voter registration deadline," Secretary
of State Alex Padilla said. "Whether you're registering for the first time or you just need to
update your registration information—it's quick and easy through RegisterToVote.ca.gov"

"You can use your smartphone, tablet, or laptop to register to vote in minutes. If you've moved,
changed your name, or want to change your political party preference visit
RegisterToVote.ca.gov by May 23."

Californians can check their voter registration status through their county elections office. Some
counties have online tools that allow voters to check their voter registration. A full list of contact
information for county elections officials and links to county online voter registration status tools
is available on the Secretary of State’s website at: http://www.sos.ca.gov/elections/registration-
status/

Closed vs. Modified-Closed Presidential Primaries

Qualified political parties are holding their presidential primaries in one of two ways:

   •    Closed presidential primary, in which only voters registered with the party may vote
        that party’s presidential ballot. The Republican Party, Green Party, and Peace and
        Freedom Party are holding closed presidential primaries.

   •    Modified-closed primary, in which the party also allows voters who registered with no
        party preference to request to receive and vote that party’s presidential ballot.
        The Democratic Party, American Independent Party, and Libertarian Party are
        allowing voters with no party preference to vote their June 7 presidential primary ballot.
        (A voter may not request more than one party’s presidential ballot.)
       Case 3:16-cv-02739-WHA Document 37-1 Filed 05/31/16 Page 62 of 109

Voters who registered with a political party may only vote for a presidential candidate running in
that party’s primary election.

Reminder: Voters, regardless of their political party preference, can vote for any candidate
running in their district for the following races: U.S. Senate, U.S. House of Representatives,
State Senate, and State Assembly.

Tips for voters registered with No Party Preference
Voters with no party preference who vote at the polls can request a Democratic Party, American
Independent Party, or Libertarian Party ballot on Election Day from a poll worker.

Voters with no party preference who vote by mail were sent a post-card from their county
elections office asking if the voter would like to receive a ballot with presidential candidates
from the Democratic Party, American Independent Party, or Libertarian Party. Voters who did
not return this post card will receive a non-partisan ballot without presidential candidates.

“There is still time for voters with no party preference to request a new ballot—even if they have
already received a ballot in the mail,” Padilla said.

Q: I am a voter with no party preference, and I received a vote-by-mail ballot with no
presidential candidates. What can I do to request a ballot with presidential candidates?

   •    Contact your county elections office no later than May 31 to request a vote-by-mail ballot
        with presidential candidates from the Democratic Party, American Independent Party, or
        Libertarian Party. Click Here for County Elections Contact Information; OR

   •    Bring your vote-by-mail ballot to the polls on Election Day and exchange it for a ballot
        with presidential candidates from the Democratic Party, American Independent Party, or
        Libertarian Party. If you have lost your original vote-by-mail ballot, you will have to vote
        a provisional ballot at the polls—your vote will still be counted; OR

   •    Bring your vote-by-mail ballot to an early voting location in your county and exchange it
        for a ballot with presidential candidates from the Democratic Party, American
        Independent Party, or Libertarian Party. If you have lost your original vote-by-mail
        ballot, you will have to vote a provisional ballot at the polls—your vote will still be
        counted.
        NOTE: Contact your county elections office for early voting locations and
        availability Click Here for County Elections Contact Information

Q: How can a voter with no party preference cast a ballot for Republican Party, Green
Party, or Peace and Freedom Party presidential candidates?

Voters registered with no party preference who would like to vote in the June 7 Presidential
Primary for a Republican Party, Green Party, or Peace and Freedom Party presidential candidate
must re-register to vote with one of those respective parties by May 23, 2016.


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AP16:063

FOR IMMEDIATE RELEASE
May 12, 2016
CONTACT:
Sam Mahood (916) 653-6575

                     Tips for No Party Preference Voters
SACRAMENTO – Secretary of State Alex Padilla has provided the following tips for voters
registered with no party preference planning to vote in the June 7, 2016 Presidential Primary.

“The June 7, 2016 Presidential Primary is fast approaching, but voters registered with no party
preference still have time to request a partisan ballot with presidential candidates,” Secretary of
State Alex Padilla said.

The following parties allow persons that registered to vote as having no party preference to cast a
ballot in their presidential primary:

Democratic Party
American Independent Party
Libertarian Party

Voters with no party preference who vote at the polls can request a Democratic Party, American
Independent Party, or Libertarian Party ballot on Election Day from a poll worker.

Voters with no party preference who vote by mail were sent a post-card from their county
elections office asking if the voter would like to receive a ballot with presidential candidates
from the Democratic Party, American Independent Party, or Libertarian Party. Voters who did
not return this post card will receive a non-partisan ballot without presidential candidates.

“There is still time for voters with no party preference to request a new ballot—even if they have
already received a ballot in the mail,” Padilla added.


Q: I am a voter with no party preference, and I received a vote-by-mail ballot with no
presidential candidates. What can I do to request a ballot with presidential candidates?

   •    Contact your county elections office no later than May 31 to request a vote-by-mail ballot
        with presidential candidates from the Democratic Party, American Independent Party, or
        Libertarian Party. Click Here for County Elections Contact Information; OR
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   •    Bring your vote-by-mail ballot to the polls on Election Day and exchange it for a ballot
        with presidential candidates from the Democratic Party, American Independent Party, or
        Libertarian Party. If you have lost your original vote-by-mail ballot, you will have to vote
        a provisional ballot at the polls—your vote will still be counted; OR

   •    Bring your vote-by-mail ballot to an early voting location in your county and exchange it
        for a ballot with presidential candidates from the Democratic Party, American
        Independent Party, or Libertarian Party. If you have lost your original vote-by-mail
        ballot, you will have to vote a provisional ballot at the polls—your vote will still be
        counted.
        NOTE: Contact your county elections office for early voting locations and
        availability Click Here for County Elections Contact Information


Q: How can a voter with no party preference cast a ballot for Republican Party, Green
Party, or Peace and Freedom Party presidential candidates?

Voters registered with no party preference who would like to vote in the June 7 Presidential
Primary for a Republican Party, Green Party, or Peace and Freedom Party presidential candidate
must re-register to vote with one of those respective parties by May 23, 2016.

Register to vote or re-register online at registertovote.ca.gov


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AP16:060

FOR IMMEDIATE RELEASE
May 3, 2016
CONTACT:
Sam Mahood (916) 653-6575

       Secretary of State Padilla Encourages Californians to
            Register to Vote for June 7, 2016 Election
SACRAMENTO – The June 7, 2016 Presidential Primary is 35 days away, and California
Secretary of State Alex Padilla is urging citizens to register to vote.

“If you are unsure of your voter registration status, you can verify your information with your
county elections office,” Secretary of State Padilla said. “Some counties have online tools that
allow voters to check their voter registration. A full list of contact information for county
elections officials and links to county online voter registration status tools is available on the
Secretary of State’s website at: http://www.sos.ca.gov/elections/registration-status/”

May 23 is the deadline to register to vote or update voter registration information for the
June 7, 2016 Presidential Primary Election.

“If you’ve moved, changed your name, or want to change your political party preference—you’ll
need to update your registration status by May 23. California citizens can quickly and easily
update registration information online at RegisterToVote.ca.gov,” Padilla added.


Closed vs. Modified-Closed Presidential Primaries

Qualified political parties are holding their presidential primaries in one of two ways:

   •    Closed presidential primary, in which only voters indicating a preference for the party
        may vote that party’s presidential ballot. The Republican, Green, and Peace and
        Freedom parties are holding closed presidential primaries.

   •    Modified-closed primary, in which the party also allows voters who registered with no
        party preference (NPP) to request to receive and vote that party’s presidential ballot.
        There are referred to as cross-over ballots. The Democratic party, American
        Independent party, and Libertarian party are allowing NPP voters to vote their June 7
        presidential primary ballot. (A voter may not request more than one party’s presidential
        ballot.)
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How can voters with “no party preference” request cross-over ballots for a party’s
presidential primary?

Voters with no party preference who vote at the polls can request a Democratic party, American
Independent party, or Libertarian party ballot on Election Day from a poll worker.

Voters with no party preference who vote by mail were sent a post-card from their county
elections office asking which cross-over ballot the voter would like to receive. Voters should
return this to their county elections office as soon as possible. Voters can request a cross-over
vote-by-mail ballot from their county elections office until May 31st.

Click Here for a Vote-By-Mail Ballot Application

Click Here for County Elections Contact Information

Reminder: Voters who registered with a political party may only vote for a presidential
candidate running in that party’s primary election.


Top-Two Primary Act

The Top Two Candidates Open Primary Act requires that all candidates for a voter-nominated
office be listed on the same ballot. The voter-nominated offices on the June ballot are one
member of the U.S. Senate, 53 members of the U.S. House of Representatives, the 80 State
Assembly members, and the 20 odd-numbered State Senate district members. Any citizen can
vote for any candidate for a voter-nominated office, regardless of party preference.

The Top Two Candidates Open Primary Act does not apply to candidates running for U.S.
president, county central committee, and local offices.

                                              ###
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            EXHIBIT I
       Case 3:16-cv-02739-WHA Document 37-1 Filed 05/31/16 Page 74 of 109

                 No Party Preference Voters
              You can vote in the Presidential Primary for the following parties:
               American Independent                 •           Democratic          •        Libertarian



       Si se inscribió sin preferencia de partido politico
             Puede votar en la primaria presidencial de los siguientes partidos:
              Americano Independiente                       •     Demócrata             •       Libertario



                     如果您登記為無政黨歸屬
                    您可在總統初選中投給以下政黨：
                  美國獨立黨  • 民主黨  • 自由黨


       य�द आप कोई पाट� पसंद नह�ं के साथ पंजीकृत है
    तो आप �नम्न�ल�खत पा�टर् य� के �लए राष्ट्रप�त के प्राथ�मक चन
                                                              ु ाव म� मतदान कर सकते है :
                     अमे�रक� स्वतंत्र       •           लोकतंत्रवाद�        •       मुिक्तवाद�



                 支持政党なしで登録なさっている場合
                      以下の政党の大統領予備選挙で投票できます。

                       アメリカ独立党                          •       民主党         •       自由党



         េបើអ�ក�នចុះេ��ះេ�យ��ន�រ្រប�ន់គណះបក្ស
           អ� ក�ចេ�ះេ��ត្រប��ធិបតី�បឋម សំ�ប់គណៈបក្សេ��ងេ្រ�មៈ
                  ឯក�ជ្យ�េមរក
                            �           •           ្រប�ធិបេតយ្យ                •           េសរ �និយម



                     선호 정당이 없이 등록한 경우에는
               다음의 정당에대한 대통령 예비선거에서 투표할 수 있습니다:
                          미국독립당                 •               민주당     •       자유당


Kung ikaw ay nakarehistro nang walang kinakatigang partido
     Makakaboto ka sa Pampanguluhang Primarya para sa mga sumusunod na partido:
           Amerikanong Independiyente                       •     Demokratiko               •     Libertaryan



          หากท่ านได้ ขนึ้ทะเบียนโดยไม่ ระบุพรรคการเมืองทช่ีอบ
   ท่านสามารถลงคะแนนเสี ยงในการเลือกต้งัประธานาธิบดีข้นัตน้ไดส้าห
                                                               ํ รับพรรคการเมืองต่อไปน้ ี:
                     ิ ั ิ
                 อเมรกนอสระ        •      เดโมแครต         •     เสรี นิยม

         Nếu quý vị ghi danh mà không chọn đảng nào
    Quý vị có thể bỏ phiếu trong kỳ bầu cử sơ bộ Tổng Thống cho những đảng sau đây:
                     Người Mỹ Độc Lập                       •    Dân chủ        •           Tự do
                                                                 For use in the June 7, 2016, Presidential Primary Election
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            EXHIBIT J
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        ALEX PADILLA | SECRETARY OF STATE | STATE OF CALIFORNIA
        ELECTIONS DIVISION
        1500 11th Street, 5th Floor, Sacramento, CA 95814 | Tel 916.657.2166 | Fax 916.653.3214 | www.sos.ca.gov




April 19, 2016



County Clerk/Registrar of Voters (CC/ROV) Memorandum #16124

TO:           All County Clerks/Registrars of Voters

FROM:         /s/ Jonathan Ivy
              Language and Accessibility Coordinator

RE:           Presidential Primary: Precinct Notice for No Party Preference


The Secretary of State has created the attached 8.5” x 14” flyer for use at polling places
to inform “No Party Preference” voters of their options for requesting a partisan ballot for
the upcoming June 7, 2016, Presidential Primary Election.

It is a multi-lingual flyer that provides information in English, Spanish, Chinese, Hindi,
Japanese, Khmer, Korean, Tagalog, Thai, and Vietnamese.

To request copies of the flyer for your precinct supplies, please fill out the attached form
and return via e-mail, Jonathan.Ivy@sos.ca.gov, or fax (916) 653-3214.

If you decide to print the flyer yourself, you may use the attached version. It is intended
to be printed on legal size paper. If printing from Adobe, be sure the option “Choose
paper source by PDF page size” is selected on the print menu.

If you have any questions, you may contact me via email at Jonathan.Ivy@sos.ca.gov
or by phone at (916) 695-1581.
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          ALEX PADILLA | SECRETARY OF STATE | STATE OF CALIFORNIA
          ELECTIONS DIVISION
          1500 11th Street, 5th Floor, Sacramento, CA 95814 | Tel 916.657.2166 | Fax 916.653.3214 | www.sos.ca.gov


                   No Party Preference Voters Flyer for the
                     June 7, 2016, Presidential Primary
                                 Order Form


Contact Information:

County:                   ____________________________________

Contact Name:             ____________________________________

Mailing Address:          ____________________________________

City, State & Zip:        ____________________________________

Email:                    ____________________________________

Phone:                    ____________________________________




   Quantity: ____________________
             (8.5” x 14” multi-lingual)




Return completed order form to:

Secretary of State
Elections Division
1500 11th Street, Fifth Floor
Sacramento, CA 95814
ATTN: Jonathan Ivy                                           Submit via E-mail
or by email to:
Jonathan.Ivy@sos.ca.gov
Fax: (916) 653-3214
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                 No Party Preference Voters
              You can vote in the Presidential Primary for the following parties:
               American Independent                 •           Democratic          •        Libertarian



       Si se inscribió sin preferencia de partido politico
             Puede votar en la primaria presidencial de los siguientes partidos:
              Americano Independiente                       •     Demócrata             •       Libertario



                     如果您登記為無政黨歸屬
                    您可在總統初選中投給以下政黨：
                  美國獨立黨  • 民主黨  • 自由黨


       य�द आप कोई पाट� पसंद नह�ं के साथ पंजीकृत है
    तो आप �नम्न�ल�खत पा�टर् य� के �लए राष्ट्रप�त के प्राथ�मक चन
                                                              ु ाव म� मतदान कर सकते है :
                     अमे�रक� स्वतंत्र       •           लोकतंत्रवाद�        •       मुिक्तवाद�



                 支持政党なしで登録なさっている場合
                      以下の政党の大統領予備選挙で投票できます。

                       アメリカ独立党                          •       民主党         •       自由党



         េបើអ�ក�នចុះេ��ះេ�យ��ន�រ្រប�ន់គណះបក្ស
           អ� ក�ចេ�ះេ��ត្រប��ធិបតី�បឋម សំ�ប់គណៈបក្សេ��ងេ្រ�មៈ
                  ឯក�ជ្យ�េមរក
                            �           •           ្រប�ធិបេតយ្យ                •           េសរ �និយម



                     선호 정당이 없이 등록한 경우에는
               다음의 정당에대한 대통령 예비선거에서 투표할 수 있습니다:
                          미국독립당                 •               민주당     •       자유당


Kung ikaw ay nakarehistro nang walang kinakatigang partido
     Makakaboto ka sa Pampanguluhang Primarya para sa mga sumusunod na partido:
           Amerikanong Independiyente                       •     Demokratiko               •     Libertaryan



          หากท่ านได้ ขนึ้ทะเบียนโดยไม่ ระบุพรรคการเมืองทช่ีอบ
   ท่านสามารถลงคะแนนเสี ยงในการเลือกต้งัประธานาธิบดีข้นัตน้ไดส้าห
                                                               ํ รับพรรคการเมืองต่อไปน้ ี:
                     ิ ั ิ
                 อเมรกนอสระ        •      เดโมแครต         •     เสรี นิยม

         Nếu quý vị ghi danh mà không chọn đảng nào
    Quý vị có thể bỏ phiếu trong kỳ bầu cử sơ bộ Tổng Thống cho những đảng sau đây:
                     Người Mỹ Độc Lập                       •    Dân chủ        •           Tự do
                                                                 For use in the June 7, 2016, Presidential Primary Election
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            EXHIBIT K
                  Case 3:16-cv-02739-WHA  Document
                               Voter Hotline       37-1
                                             - Quick    Filed 05/31/16
                                                     Reference    GuidePage 80 of 109

ATTENTION VOTER HOTLINE OPERATORS:
The Secretary of State’s office does not take a position on any candidate or ballot measure. Do not express your political
views to a caller, even though they may ask for your opinion. You may direct voters to their State Voter Information Guide
and/or County Sample Ballot for information on the candidates and ballot measures.

HOT TOPIC: The following political parties have notified the Secretary of State of their decision to allow No Party
Preference voters to request their party’s presidential ballot in the June 7, 2016 Presidential Primary Election. No other
qualified political party will allow cross-over voters. See “How to Vote for President” flyer for more details.
     American Independent Party
     Democratic Party
     Libertarian Party

HOT TOPIC: Top Two Candidates – What does that mean?
Under the Top Two Candidates Open Primary Act, voter-nominated (State Constitutional Offices (Governor, Lt. Governor,
Secretary of State, Attorney General, State Controller, State Treasurer, Superintendent of Public Instruction, and
Insurance Commissioner), Congressional, State Senate, State Assembly) candidates running in a primary election,
regardless of their party preference, will appear on a single primary election ballot and voters can vote for any candidate
regardless of their political party preference. The top two overall vote-getters – (not the top vote-getter from each qualified
political party) – move on to the general election. This does not apply to the office of the President.

POLLING PLACE: Polling Places Are Open From 7:00 a.m. to 8:00 p.m. on Election Day.
For callers that do not feel comfortable giving their information over the Voter Hotline or simply want to look it up for
themselves, a voter can find their polling place location by: checking the back of their county sample ballot booklet,
contacting their county elections office directly, visiting their county elections office’s website, texting the word “VOTE” to
“GOVOTE”, or visiting the Secretary of State’s website (sos.ca.gov) and clicking “Find Your Polling Place.”

LAST DAY TO REGISTER TO VOTE IN THE JUNE 7 PRESIDENTIAL PRIMARY ELECTION WAS MONDAY,
MAY 23, 2016
    Individuals may still register online for future elections at RegisterToVote.ca.gov after May 23rd.
    If a registered voter moves (changes residence) within 14 days prior to an election (after the close of
      registration on 5/23), the voter may vote in the polling place/precinct for their OLD address for the June 7 Primary
      Election. HOWEVER: The voter will have to re-register to vote in order to vote in any future elections.

WHAT QUESTIONS MUST BE REFERRED TO THE VOTER’S COUNTY TO ANSWER?
   Am I registered to vote? (some counties have a look up tool on their website)
   Why haven’t I received my vote-by-mail (VBM) ballot? – The voter can visit our website at
     www.sos.ca.gov/elections/ballot-status/, which will direct them to their county’s ballot status look up page.

VOTING BY MAIL:
   Counties began mailing vote-by-mail ballots – May 9, 2016
   Last day a voter could apply for a vote-by-mail ballot – May 31, 2016
   Completed vote-by-mail ballots must be postmarked on or before Election Day and received by the county
     elections office no later than 3 days after Election Day.
   Where can I turn in my vote-by-mail ballot (if I can’t mail it in time)?
         o Ballots may be returned in-person to any polling place within the voter’s county by 8:00 p.m. on Election
            Day or at their county elections office.
         o Voters may authorize, in writing, a legally allowable third party (spouse, child, parent, grandparent,
            grandchild, brother, sister, or a person residing in the same household as you) to return the ballot (by 8:00
            p.m. on Election Day) on their behalf.

WHAT IS A “PROVISIONAL BALLOT” OR “PROVISIONAL VOTING?”
If your name is not on the list of registered voters at your designated polling place but you believe you are registered to
vote, you may request a provisional ballot. A poll worker will give you a ballot and a special envelope. After voting, place
your ballot in the provisional ballot envelope and sign the outside affirming your identity and that you have not already
voted in that election. Your provisional ballot is counted after your county elections office has confirmed that you are
registered to vote and you did not already vote in that election either at another polling place or by mail.

A poll worker will give you information about how to check after the election that your provisional ballot was counted and, if
it was not counted the reason why. Voters can also visit our “Check Status of My Ballot” page at
http://www.sos.ca.gov/elections/ballot-status/.

PRESIDENTIAL CANDIDATE STATEMENTS:
Presidential candidate statements can be found in the online version of the State Voter Information Guide located at
http://voterguide.sos.ca.gov/candidates/president-candidate-statements.htm. These statements are only online. They
are not included in the printed guides mailed to voters. Not all candidates submitted statements.

Voting Materials (State Voter Information Guide and County Sample Ballot)
If a voter did not register by Monday, May 9, 2016 (29 days prior to Election Day), he or she may not have received a
Voter Information Guide (VIG). However, VIGs are available at all polling places, as well as online at the Secretary of
State’s website at http://www.voterguide.sos.ca.gov. In addition, Sample Ballots are available at all polling places and
some counties provide sample ballots on their websites (see county contact list for web addresses).
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            EXHIBIT M
      Case 3:16-cv-02739-WHA Document 37-1 Filed 05/31/16 Page 84 of 109




AP16:056

FOR IMMEDIATE RELEASE
April 5, 2016
CONTACT:
Sam Mahood (916) 653-6575

      California Secretary of State Alex Padilla Prepares for
                     Surge in Voter Turnout
   Seeks Additional Resources for Printing and Staffing for Primary and General Elections

SACRAMENTO – California Secretary of State Alex Padilla has reached out to Governor Jerry
Brown, legislative leaders, and county elections officials in anticipation of a surge in voter
turnout in the June 7, Presidential Primary Election and the November 8, General Election.

“I intend to work with the Governor and the legislature to move quickly to ensure we have the
resources necessary to conduct smooth and successful elections,” Padilla said. In a memo last
week, the Secretary of State urged county elections officials to “ensure each polling place has a
sufficient number of ballots on hand to manage the anticipated increase in turnout that has been
observed in other states.”

Click here for the Secretary of State’s memo to county elections officials on sufficient ballot
supplies

“High interest in the 2016 election cycle, a significant rise in the use of online voter registration,
growing demand for registration cards, and increased voter turnout in neighboring states suggests
that California could see a major surge in voter turnout,” Secretary of State Padilla said today.

Padilla has reached out to Governor Brown and legislative leaders requesting $32 million to
ensure that California’s 58 county election officials and the office of Secretary of State have
adequate resources to conduct the June and November elections while also verifying petitions for
as many as 21 potential ballot measures. “Counties will need more resources,” Padilla said.

The funding would cover increased printing costs for a much larger General Election Statewide
Voter Information Guide, as well as additional staff time to process initiative petitions and
administer elections.

In his letter, Padilla expressed concerns about printing costs. “With as many as 21 potential
ballot measures, the principal voter guide for the November General Election may be between
208 and 256 pages long. If the Legislature adds three measures, the principal voter information
guide could grow to 288 pages,” explained Padilla.
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                               ###
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            EXHIBIT N
      Case 3:16-cv-02739-WHA Document 37-1 Filed 05/31/16 Page 88 of 109




AP16:059
FOR IMMEDIATE RELEASE
April 29, 2016
CONTACT:
Sam Mahood (916) 653-6575

   Governor Brown Signs Bill to Provide Additional Election
                         Funding
            Additional Resources for Staffing and Administering Primary Election
SACRAMENTO – Governor Jerry Brown has signed legislation to provide the Secretary of
State and county elections offices additional funding to administer the June 7, 2016 Presidential
Primary Election.
AB 120, authored by Assemblymember Phil Ting (D-San Francisco) and sponsored by Secretary
of State Alex Padilla, received bipartisan support in the State Senate (36-0) and State Assembly
(73-0).
“I thank Governor Brown and the Legislature for recognizing the unique nature of the 2016
election cycle and working so quickly to provide critical funding to county elections officials,”
Secretary of State Padilla said. “County elections officials must not only prepare for a surge in
voter turnout, they also have to verify a massive number of signatures for ballot measure
initiative petitions. This funding will help ensure counties can conduct smooth and successful
Presidential Primary Elections.”
AB 120 provides an additional $16,288,000 to all 58 California counties. This funding will help
cover costs associated conducting the June 7, Presidential Primary Election while simultaneously
completing statewide initiative signature verifications. $115,000 of the total funding will be
provided to the Secretary of State’s office for elections costs—including hiring more phone
interpreters for the voter hotline and conducting polling place observations in all 58 California
counties.
“Voter interest is climbing, and elections officials need to be prepared,” Padilla added.
Earlier this month Secretary of State Padilla reached out to Governor Brown, legislative leaders,
and county elections officials in anticipation of a surge in voter turnout in the June 7, Presidential
Primary Election. AB 120 is a direct result of these discussions.
In a memo last month, the Secretary of State urged county elections officials to “ensure each
polling place has a sufficient number of ballots on hand to manage the anticipated increase in
turnout that has been observed in other states.”
Click here for the Secretary of State’s memo to county elections officials on sufficient ballot
supplies
                                                 ###
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            EXHIBIT O
  Case 3:16-cv-02739-WHA Document 37-1 Filed 05/31/16 Page 90 of 109


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        ELECTIONS DIVISION
        1500 11th Street, 5th Floor, Sacramento, CA 95814 | Tel 916.657.2166 | Fax 916.653.3214 | www.sos.ca.gov




January 25, 2016



County Clerk/Registrar of Voters (CC/ROV) Memorandum #16036

TO:             All County Clerks/Registrars of Voters

FROM:           /s/Evelyn Mendez
                Program Manager, Candidate Filing and Election Night Reporting

RE:             Presidential Primary: No Party Preference Voters

The following parties have notified the Secretary of State that they will allow No
Party Preference voters to request their party’s presidential ballot in the June 7,
2016, Presidential Primary Election:

   •   American Independent Party
   •   Democratic Party
   •   Libertarian Party
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            EXHIBIT P
  Case 3:16-cv-02739-WHA Document 37-1 Filed 05/31/16 Page 92 of 109

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        ELECTIONS DIVISION
        1500 11th Street, 5th Floor, Sacramento, CA 95814 | Tel 916.657.2166 | Fax 916.653.3214 | www.sos.ca.gov




March 30, 2016



County Clerk/Registrar of Voters (CC/ROV) Memorandum # 16103

TO:           All County Clerks/Registrars of Voters

FROM:         /s/ Jana M. Lean
              Chief, Elections Division

RE:           Presidential Primary: Sufficient Supply of Ballots


Given the increase in public interest in the upcoming presidential primary
election and the rise in the number of online voter registration applications, it is
anticipated that voter turnout in the June 7, 2016, Presidential Primary Election
could significantly increase as a result.

Therefore, the Secretary of State’s office urges that you plan accordingly to
ensure your county has an ample number of ballots, including any required
multilingual ballots and other voting materials, available at your office and at the
polls on Election Day.

While Elections Code section 14102 requires counties to provide ballots equal in
number to at least 75 percent of registered voters in the precinct, we encourage
you to provide more than the minimum 75 percent in order to ensure each
polling place has a sufficient number of ballots on hand to manage the
anticipated increase in turnout that has been recently observed in other states. It
is our hope that in doing so, California will be fully prepared and will continue to
lead the nation in the successful conduct of elections.

Should you have any questions or other ideas on how to address the anticipated
increase in turnout, please feel free to contact me at Jana.Lean@sos.ca.gov.
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            EXHIBIT Q
       Case 3:16-cv-02739-WHA Document 37-1 Filed 05/31/16 Page 94 of 109


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         ELECTIONS DIVISION
         1500 11th Street, 5th Floor, Sacramento, CA 95814 | Tel 916.657.2166 | Fax 916.653.3214 | www.sos.ca.gov




May 13, 2016


County Clerk/Registrar of Voters (CC/ROV) Memorandum # 16137

TO:            All County Clerks/Registrars of Voters

FROM:          /s/ Jana M. Lean
               Chief, Elections Division

RE:            Presidential Primary: Approved Alternative Procedures

As you are aware, Elections Code section 14299 requires counties to have an
alternative procedure in place in the event there are insufficient ballots at a precinct.

In accordance with Elections Code section 14299(c), please submit your alternative
procedure(s) to Stacey Jarrett at Stacey.Jarrett@sos.ca.gov by May 23, 2016 (E-15).

Following is a list of alternative procedures that have been approved by the Secretary of
State for use in the June 7, 2016, Presidential Primary Election.

   •    Provisional ballots
   •    Vote-by-mail ballots
   •    Sample ballots
   •    Reasonable facsimiles of polling place, vote-by-mail, and sample ballots
   •    Ballots from neighboring precincts, provided the ballot types are identical
   •    Emergency ballots or test ballots that many counties include in their regular
        precinct supply kits, provided these ballots contain the names of all of the
        candidates and titles of ballots measures, along with corresponding areas to
        allow voters to select their choices
   •    A blank piece of paper upon which the names of all of the candidates and titles of
        ballots measures are printed, along with corresponding areas to allow voters to
        select their choices
   •    Direct Recording Electronic voting systems

Any ballot cast using one of the above-approved alternative procedures would have to
be duplicated in accordance with the procedure set forth in Elections Code section
15210.
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                                 Secretary of State Media Coverage
                                No Party Preference Voter Information


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                                                                                                                                                FOR OFFICIAL USE ONLY

California Vote-By-Mail Ballot Application
                                                                                                                  Rev. 12/2014

Enter the date of the election and the type of election (e.g., Primary, General, or Special). This application must be received by your
county elections official not later than seven (7) days prior to the date of the election. The date of the election can be found at
www.sos.ca.gov/elections/upcoming-elections/. A ballot will not be sent to you if this application is incomplete or inaccurate.

1. This is an application for a vote-by-mail ballot for the ____________________, ___________________________________ election.
                                                                                       Month/Day/Year                Type of Election (Primary, General, or Special)


2. Print name: _______________________________________________________________                                                   3. Date of birth: ____________________
                      First                    Middle Name or Initial               Last                                                                       Month/Day/Year


4. Residence address: ____________________________________________________________________________________________
                                  Number and Street (P.O. Box, Rural Route, etc. will not be accepted)             (Designate N, S, E, W if used)


		                              ____________________________________________________________________________________________
                                  City                                              Zip Code                              California County

5. Mailing address for ballot (if different from above):
     If your mailing address is outside of the U.S., and you are a military or overseas voter, re-register at RegisterToVote.ca.gov or use the Federal Post Card Application
     at www.fvap.gov.


     _____________________________________________________________________________________________________________
      Number and Street/P.O. Box (Designate N, S, E, W if used)


     _____________________________________________________________________________________________________________
      City        					                                             State or Foreign County              				                                  Zip Code or Postal Code


6. Telephone number (optional): (_____) ____________________                                         (_____) ____________________
                                                                  Day                                                 Evening

7.           (Only complete Item 7 if this application is for a Presidential Primary Election.)

             Yes, I want to request a political party ballot for the Presidential Primary Election.
             the ________________________________________ Party.*
             *To find out if a qualified political party will allow voters who have declined to disclose a preference for a political party to vote the ballot of that
              political party, contact the Secretary of State at (800) 345-8683 or visit www.sos.ca.gov/elections/no-party-preference.htm.


8.           Yes, I want to become a permanent vote-by-mail voter.
             By checking this box and by initialing here _____, I am requesting to become a permanent vote-by-mail voter. A vote-by-mail ballot will automatically
             be sent to me in all future elections. I understand that if I fail to vote by mail in four consecutive statewide general elections, I will need to reapply for
             permanent vote-by-mail voter status.


9. This application must be signed.
     I have not applied for a vote-by-mail ballot from any other jurisdiction for this election. I certify under penalty of perjury under the laws of the State of California
     that the information I have provided on this application is true and correct.



     Signature: ______________________________________________________________                                                Date: ______________________________
Warning: Perjury is a felony, punishable by imprisonment in state prison for up to four years. (Penal Code § 126)


                                                                                       NOTICE
 You have the right to mail or deliver this application directly to your county elections official.
 Returning this application to anyone other than your county elections official may cause a delay that could interfere with your ability to vote.
 If this application is returned by mail, it must be returned directly to your county elections official.
 Only the registered voter himself or herself may apply for a vote-by-mail ballot. An application for a vote-by-mail ballot made by a person other than the
 registered voter is a criminal offense.

 Individuals/Organizations/Groups Distributing this Application
 The format used on this application must be followed by anyone distributing vote-by-mail ballot applications. Failure to conform to this format is a crime.
 Anyone distributing this application may not preprint a mailing address in Item 5.
 Anyone distributing this application may not preprint a check mark or political party name in Item 7.
 Anyone providing this application to a voter must enter their name, address, and telephone number here: ____________________________________
 ________________________________________________________________________________________________________________________
 ________________________________________________________________________________________________________________________
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                                  Instructions for Completing
                           California Vote-By-Mail Ballot Application



Who Can Use this Application

The uniform California Vote-By-Mail Ballot Application can only be used by a registered voter. If
you have not already registered to vote, you can register to vote online on the Secretary of State’s
website at RegisterToVote.ca.gov. You may also pick up a Voter Registration Form at your county
elections office, library, or U.S. Post Office. Your completed Voter Registration Form must be
submitted online or to your county elections office at least 15 days before the election.

To vote by mail, you can use this Vote-By-Mail Ballot Application, use the form in the sample ballot
booklet you receive in the mail, or contact your county elections office. This Vote-By-Mail Ballot
Application is provided by the Secretary of State (SOS) for use by any person, group, or
organization distributing vote-by-mail ballot applications for elections that involve more than one
county. For organizations distributing applications for elections that involve a single county, the
county elections office should be contacted for the appropriate application format and barcode
information.

Californians who are serving in the military and are absent from the county where they are eligible
to vote, or living or studying abroad must register as a military or overseas voter, either online at
RegisterToVote.ca.gov or via the Federal Post Card Application (FPCA) in order to request a
vote-by-mail ballot. The FPCA is available at www.fvap.gov.


How to Fill Out this Application

Item 1. Enter the date of the election in which you wish to vote (month, day, year), and the type of
election (Primary, General, or Special).

Item 2. Print your first, middle, and last names as they appear on your Voter Registration Form.

Item 3. Print your date of birth in this order – month, day, year.

Item 4. Print the complete street address of your voting residence. A post office box or rural route
cannot be accepted.

Item 5. Mailing address information must be completed by the voter. Print the complete address
where you want your ballot sent, if it is different than the residence address provided in Item 4.

Item 6. Print your telephone number (optional, not required) to allow the elections office to contact
you if more information is needed.

Item 7. Only complete Item 7 if the application is for a Presidential Primary Election. If you have
not disclosed a preference for (formerly known as “registered with”) a political party, you may
request to vote a party ballot at the Presidential Primary Election if the political party allows it. The
checkoff box and name of the political party must be completed by the voter. To find out which
political parties have authorized voters who have declined to disclose a party preference (formerly
know as “decline-to-state voters”) to vote their party’s ballot, call the SOS’s toll-free Voter Hotline at
(800) 345-VOTE (8683). If you choose not to request a political party ballot in the Presidential


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Primary Election, you will be provided a nonpartisan ballot containing only the names of candidates
for voter-nominated and nonpartisan offices and measures, if any, to be voted for at the
Presidential Primary Election.

Item 8. Any registered voter may receive a vote-by-mail ballot automatically in all future elections
by checking the Permanent Vote-By-Mail Voter box and initialing the line. Any voter can opt out of
the permanent vote-by-mail status at any time by contacting their county elections official directly.

Item 9. Sign and date in this order – month, day, year. No witness or notary required.


How to Submit the Application

Your Vote-By-Mail Ballot Application must be returned to your county elections official at least 7
days before the election. However, if you become ill or disabled during the final week before an
election, or find that you will be unable to go to your polling place on election day, you may request
that a vote-by-mail ballot be delivered to you by personally submitting a written application or letter
to your county elections official. The request must contain your name and residence address, the
address to which you want the ballot sent, the name and date of the election in which you would
like to vote, your signature, and the date. You may authorize another person to receive the ballot
from the elections official, and/or return the ballot to an elections official after you have voted it.

If this application is returned by mail, it must be returned directly to your county elections official.

Please do not send applications to the SOS’s office. Doing so will delay the application process.

You can find the address and telephone number of your county elections official on the SOS
website at www.sos.ca.gov/elections/voting-resources/new-voters/county-elections-offices/.


What Can be Preprinted on the Application

State law requires the voter to personally affix his or her signature and the address to which the
ballot is to be mailed.

If an organization is distributing the application, the name, address, and telephone number of the
organization authorizing distribution must be included on the application.

In order to ensure accuracy, each voter should fill out all of the information on the application.
However, any person, group, or organization distributing the application may preprint the following:

       The printed name and home address of the voter as it appears on the Voter Registration
        Form.
       The name and date of the election for which the ballot is requested.
       The name, address, and telephone number of the person, group, or organization
        authorizing distribution of the application.


(Revised December 2014)




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